         Case 19-13906-JNP                      Doc 1              Filed 02/26/19 Entered 02/26/19 17:02:10                              Desc Main
                                                                   Document     Page 1 of 59



  United States Eankruptcy Court for the:

  District of New Jersey

  Case number     (irkrown)                                        Chaoter vou are filinq under
                                                                   d    cn"pt",7
                                                                   E    Chapter 11
                                                                   []   Chapter 12
                                                                   E    Chapter 13                                                E   Cnecx if this is an
                                                                                                                                      amended filing



Official Form 101
Vofuntary Petition for lndividuals Filing for Bankruptcy                                                                                                    12t17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint cas*and    in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor t and
 Debtor 2to distinguish between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2.fhe
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question-


             to"ntity vo,,r'"tt
tl@
                                      About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
r.   Your full name
     Write the name that is on your
     governmenf issued picture
                                       Michael
     identifi cation (for example,    First name                                                     First name
     your driver's license or         J.
     passport).                       Middle name                                                    Middle name

     Bring your picture                Berkowitz
     identification to your meeting   Last name                                                      Last name
     with the trustee.
                                      Suffix (Sr., Jr., ll, lll)                                     Suffix (Sr , Jr , ll, lll)




     All other names you              N/A
     have used in the last       8    Frrst name                                                     First name
     years
     Include your married or          Middle name                                                    Niliddle name
     maiden names.
                                      Lasl name                                                      Last name



                                      First name                                                     First name


                                      Middle name                                                    Middle name


                                      Lasl name                                                      Last name




     Only the last 4 digits of
     your Social Security             XXX - XX_                    zt40                              XXX - XX-
     number or federal                OR                                                             OR
     Individual Taxpayer
     ldentification number            9xx - xx -                                                     9xx - xx -
     (rrN)

Official Form   101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                   page   1
             Case 19-13906-JNP                             Doc 1            Filed 02/26/19 Entered 02/26/19 17:02:10                                   Desc Main
                                                                            Document     Page 2 of 59


Debtor   1     Michael                                   Berkowitz                                           Case number (r
                             Middle   Name                     Last Name




                                         About Debtor 1:                                                          About Debtor 2 (Spouse Only in a Joint Case):


l.   Any business names
                                             E                                                  ElNs.             E     I have not used any business names or ElNs
     and Employer                                      I have not used any business names or

     ldentification Numbers
     (ElN) you have used in
     the last 8 years                        Business name                                                        Business name

     Include trade names and
     dolng busrness as names                 Business name                                                        Business name




                                                                                                                  EIN



                                             E   [.r                                                              EIN




s.   Where you live                                                                                                lf Debtor 2 lives at a different address:


                                             26 Forestview Court
                                             Number                Street                                          Number         Street




                                             Marlton                                    NJ       OBO53
                                                                                                                                                            State   ZIP Code
                                             City                                       stale   zlP   code         citY

                                                 Burlington
                                             County                                                                County


                                             lf your mailing address is different from the one                     lf Debtor 2's mailing address is different from
                                             above, fill it in here. Note that the court will send                 yours, fill it in here' Note that the court will send
                                             any notices to you at this mailing       address.                     any notices to this mailing address



                                             Number                Streel                                          Number         Street



                                             P.O        Box                                                        P.O. Box



                                             City                                       state   ZIP   code         crty                                     State   ZIP Code




o. Why you are choosing                      Check         one                                                     Check one'
      this districf to file fot
      bankruptcv                             d                                                  petition'
                                                       ff:JJ'li":Til,X?J;f :i';l?:i?."'lis
                                                       other   district.
                                                                                                                   " lnJH:tlJ'XlT5:ifl?:iffJm??'J'"
                                                                                                                     other district

                                                 E     I haue another reason.   Explain                            D      I have another reason. Explain.
                                                       (See 28 U S.C. S      1408.)                                       (See 28 U.S   C   S 1408 )




                                                                Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
     Official Form   101
             Case 19-13906-JNP                                 Doc 1        Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                            Document     Page 3 of 59


 Debror     1     Michael
                  Fnst   Name     ['liddle   Name
                                                              Berkowitz
                                                                Lasl Name
                                                                                                                Case number (/




Jilrff]il       Tell the Gourt About Your Bankruptcy Gase


 z.       The chapter of the                    Check one. (For a brief description of each, see Nolice Required by 11 U.S.C. S 342(b) for lndividuals Filing
-         Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
          are choosing to file
                                                    @ ChaPter 7
          unoer
                                                    E Chapter       11

                                                    E chapter       12

                                                    U Chapter       13



 8.       How you will pay the      fee ?l t witt pay the entire fee when I file my petition.             Please check with the clerk's office in your
                                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                                         yourself, you may pay with cash, cashier's check, or money order. lf your attorney is
                                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                         with a pre-printed address

                                                    fl   I need to pay the fee in installments. lf you choose this option, sign and attach the
                                                         Application for lndividuals to Pay The Filing Fee in lnstallments (Official Form 103A).

                                                    E    I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                         lessthan 15Oo/ooftheofficial povertylinethatappliestoyourfamilysizeandyouareunableto
                                                         pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
                                                         Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


 e.       Have you filed    for                     Zl   No
          bankruptcy within the
          last 8 years?                             E Yes.      Di"tria                                                               Case number
                                                                                                             i,4IV1     /   DD/YYYY

                                                                District                                                              Case number
                                                                                                             l\ill\,l   /   DD/YYYY

                                                                Districl                                                              Case number
                                                                                                             l\ilM/ DD/YYYY



    10.   Are any bankruptcy                        El   ruo
          cases pending or being
          filed by a spouse who is                  lJ Yes      Debtor                                                                Relationship to you
          not filing this case with                             Districl                                                              Case number, if known
          you, or by a business                                                                               I\iIIV/DD /YYYY
          partner, or by an
          affiliate?
                                                                Debtor                                                                Relationship to you

                                                                Districl                              When                            Case number, if   known-
                                                                                                              MM/DD/YYYY



 tt.               your
          Do you rent                               0 ruo. Go to line 12.
          residence?                                D yes.      Has your landlord obtained an eviction judgment against you?

                                                                E    tto. Go to line 12.
                                                                D    Ves. Fill out /nftral Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                     part ofthis bankruptcy petition.




      Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                         page 3
              Case 19-13906-JNP                           Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                 Desc Main
                                                                        Document     Page 4 of 59


 Debtor   1        Michael                                Berkowitz                                        Case number (rr,own)
                  Fist   Name      Middl€ Name




                Report About Any Businesses you ctwn as a sole proprietor
@
 'tz. Are you a sole proprietor                  Zl   t,to. Go to Part 4.
      of any full- or part-time
       business?                                 D    Yes. Name and location of business
       A sole proprietorship is a
       business you operate as an
                                                           Name of business, if any
       individual. and is not a
       separate legal entity such as
       a corporation, partnership, or
                                                           Number           Street
       LLC.
       lf you have more than one
       sole proprietorship, use a
       separate sheet and attach it
       to this oetition.
                                                             City                                                                 ZIP Code


                                                            Check the appropriate box to describe your business;

                                                           E Health Care Business (as defined in 1 U.S C. S 01(27A))
                                                                                                    1              1


                                                           Q SingteAsset Real Estate (as deflned in'1 1 U.S.C. S 101(518))
                                                           E Stockbroker (as defined in 'l 1 U S C S 101(53A))
                                                           E Commodity Broker (as defined in 1'l U.S.C. S 101(6))
                                                           E None ofthe above

 r:. Are you filing under                        If you are filing under Chapter 11, the couft must know whether you are a small busmess debtor so that it
       Chapter 11 of the                         can set appropriate deadlines. lf you indicate that you are a small business debtor, you must attach your
       Bankruptcy Code and                       most recent balance sheet, slatement of operalions, cash-flow slalemenl, and federal income lax return or if
                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. $ 1116(1)(B)
       are you a sma// business
       dehtor?
                                                 0 ruo t am not filing under Chapler 1'1.
       For a definition ol small
       bus,ness debfor. see                      D    ruo. t am filing under Chapter 11, but I am NOT a small busrness debtor according to the definition     in
       11 u.S.C. S 101(51D).                               the Bankruptcy Code.

                                                 E    yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                           Bankruptcy Code.


               Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention
fifffl
 14.   Do you own or have any                    Zl ruo
       property that poses or is
       alleged to pose a threat                  E Yes. What is the hazard?
       of imminent and
       identifiable hazard to
       public health or safety?
       Or do you own any
       property that needs
                                                             lf immediate attention is needed. whv is it needed?
       immediate attention?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs2
                                                             Where is the property?
                                                                                      Number




                                                                                      CitY                                                     ZIP Code


   Official Form    101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
             Case 19-13906-JNP                  Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                            Desc Main
                                                              Document     Page 5 of 59


Debtor   1                                                                                               Case number    t,t




              Exptain Your Efforts to Receive a Briefing About Gredit Gounseling
@|
                                        About Debtor 'l:                                                      About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                                    You must check one:
      counseling.
                                        El I received a briefing from  an approved credit                      fl   I received a briefing from an approved credit
                                            counseling agency within the 180 days before             I              counseling agency within the '180 days before            I
      The law requires lhat you             filed this bankruptcy petition, and I received a                        filed this bankruptcy petition, and I received a
      receive a briefing about credit       certificate of completion.                                              certificate of completion.
      counseling before you file for
                                            Attach a copy of the certificate and the payment                        Attach a copy of the certiflcate and the payment
      bankruptcy. You must
                                            plan, if any, that you developed with the agency.                       plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. lf you
      cannot do so, you are not
                                        D   I received a briefing from an approved credit                      D    I received a briefing from an approved credit
                                            counseling agency within the 't80 days before I                         counseling agency within the 180 days before           I
      eligible to file.                     filed this bankruptcy petition, but I do not have a                     filed this bankruptcy petition, but I do not have            a
                                            certificate of completion.                                              certificate of completion.
      lf you file anyway, the court
                                            Within 14 days after you file this bankruplcy petition,                 Within '14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                            you MUST file a copy of the certificate and payment                     you MUST flle a copy of the certiflcate and payment
      will lose whatever filing fee         plan, if any.                                                           plan, if any.
      you paid, and your creditors
      can begin collection activities
      again.
                                        E   Icertify that I asked for credit counseling                        E    Icertify that I asked for credit counseling
                                            services from an approved agency, but was                               services from an approved agency, but was
                                            unable to obtain those services during the 7                            unable to obtain those services during the 7
                                            days after I made my request, and exigent                               days after I made my request, and exigent
                                            circumstances merit a 30-day temporary waiver                           circumstances merit a 30-day temporary waiver
                                            of the requirement.                                                     of the requirement.
                                            To ask for a 30 day temporary waiver of the                             To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                         requirement, attach a separate sheet explaining
                                            wlrat efforts you made to obtain the briefing, why                      what efforts you made to obtain the briefing, why
                                            you were unable to obtain it before you filed for                       you were unable to obtain it before you filed for
                                            bankruptcy, and wtrat exigent circumstances                             bankruptcy, and what exigent circumstances
                                            required you to file this case.                                         required you to file this case.
                                            Your case may be dismissed if the court is                              Your case may be drsmissed if the court is
                                            dissatisfied with your reasons for not receiving a                      dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                               briefing before you filed for bankruptcy.
                                            lf the court is satisfied with your reasons, you must                   lf the court is satisfied with your reasons, you must
                                            still receive a briefing within 30 days after you file.                 still receive a briefing within 30 days after you file.
                                            You must file a certificate from the approved                           You must file a certificate from the aDproved
                                            agency, along with a copy of the payrnent plan you                      agency, along with a copy of the payment plan you
                                            developed, if any. lf you do not do so, your case                       developed, if any. lf you do not do so, your case
                                            may be dismissed.                                                       may be dismissed.
                                            Any extension of the 30-day deadline is granted                         Any extension of the 30-day deadline is granted
                                            only for cause and is limited to a maximum of 15                        only for cause and is limited to a maximum of 15
                                            days.                                                                   days.

                                        E   Iam not required to receive a briefing about                       E    Iam not required to receive a briefing about
                                            credit counseling because of:                                           credit counseling because of:

                                            E   Incapacity.    I have a mental illness or a mental                  E     Incapacity. I have a mental illness    or a mental
                                                               deficiency thal makes me                                                 deficiency that makes me
                                                               incapable of realizing or making                                         incapable of realizing or making
                                                               rational decisions about finances.                                       rational decisions about finances.
                                            D Oisability.      My physical disability causes me                     D Disability.       My physical disability causes me
                                                               to be unable to participate rn a                                         to be unable to participale in a
                                                               briefing in person, by phone, or                                         brieflng in person, by phone, or
                                                               through the internet, even after  I                                      through the internet, even after I
                                                               reasonably tried to do so.                                               reasonably tried to do so.
                                            E   Active duty. I am currently on active military                      E     Active duty. I am currently on active military
                                                               duty in a military combat zone.                                          duty in a military combat zone.
                                            lf you believe you are not required to receive a                        lf you believe you are not required to receive a
                                            briefing about credit counseling, you must file a                       briefing about credit counseling, you must file a
                                            motion for waiver of credit counselino with the court.                  motion for waiver of credit counselinq with the court.




 Official Form    101                               Voluntary Petition for Individuals Filing for Bankruptcy                                            page 5
          Case 19-13906-JNP                             Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                           Desc Main
                                                                       Document     Page 6 of 59


                   Michael                              Berkowitz                                                 Case number (r
                 Firsl   Name   Middle Name




                Answer These euestions for Reporting purposes
!@|
                                              16a.   Are your debts primarily consumer debts? Consumer debts are deflned in 1'l U.S.C. S 101(B)
 16.   What kind of debts do                         as "incurred by an indivrdual primarily for a personal, family, or household purpose."
       you have?
                                                     C tto. Go to line 16b.
                                                     ?l Yes. co to line '17.
                                              16b.   Are your debts primarily business debts? Eusness debts are debts that you incuned to obtain
                                                     money for a business or investment or through the operation of the business or investment.

                                                     Q tto. Go to line 16c.
                                                     E Yes Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.



 'n.   Are you filing under
       Chapter 7?                             E    trto. t am not filing under Chapter 7. Go to line      '18.


       Do you estimate that after @ Y"s. I am filing under Chapter 7. Do you estimate that after any exempl property is excluded and
       any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
        excluded and                                    El    ruo
        administrative expenses
        are paid that funds will be                     D     yes
        available for distribution
... ....19.
            uL:9.u red.creditors?
 tg. How many creditors do                    @    t-+s                                     B r,ooo-s,ooo                                 D    zs,oor-so,ooo
     you estimate that you                    O    so-sg                                    E s,oor-ro,ooo                                E    so,oor-roo,ooo
       owe?                                   E    roo-rss                                  E ro,oor-zs,ooo                               E    More than 100,000
                                              E    zoo-sgs

 rg. How much do you                          Q    $o-$so,ooo                               E   $r ,ooo,oor -g'ro mirion                  tJ   $soo,ooo,oo1 -$1 birion
     estimate your assets to                  E    $so,oor-$roo,ooo                         E   $r o,ooo,oor -$50 mirion                  fl   $r ,ooo,ooo,oo'1-$1 o birion
       be worth?                              Zl   $roo,oor-$soo,ooo                        D   $so,ooo,oor -$1 oo mirion                 E    $to,ooo,ooo.oo1.s5o birion
                                              C    $soo,oor-$'r mirrion                     E   $r oo,ooo,ool -$5oo miriion               E    More than $50 billion

 zo. How much do you                          fl   $o-$so,ooo                               E   $t,ooo,oor-$10 mirion                     E    $soo,ooo,oo.1-$1 biuion
       estimate your liabilities              D    $so,oor-$roo,ooo                         E   $r o,ooo,oor -$50 mirion                  E    $r,ooo,ooo,oo1-$10 birion
       to be?                                 Zl   $roo,oor-$soo,ooo                        E   $so,ooo,oor -$1 oo mirion                 Q    $r o,ooo,ooo,oo'r -$50 brlion
                                              E    ssoo,oot-$t minon                        E   st oo.ooo.ool -$5oo mirion                E    More than S50 billion
Glt//l.I        sisn Betow
                                              I have examined this petition, and I declare under penalty of perjury that the informalion provided is true and
 For you                                      correct.

                                              lf I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, ot 13
                                              of title 11, United Stales Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chaoter 7.
                                              lf no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me flll out
                                              this document, I have obtained and read the notice required by 11 U.S.C. S 342(b)
                                              I request relief in accordance with the chapter of title       1   1, United States Code, specified in this petition.

                                              I understand making a false stalement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy gf.s9-oqn result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18   us   c   ss   tryf*1-1j1Jjy)-
                                              x ./ /-4---,                                                             x
                                                     I
                                                   Signature of Debtor                 'l                                  Signature of Debtor 2

                                                   Executed                 )t/)orl
                                                                 on t-"ht / :7 t;'/ .7tt-I I
                                                                    MM / DD //YYYY  YYYY
                                                                                                                           Executed   on _
                                                                                                                                         i,M   / DD    /YYYY


   Official Form   101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                             page 6
       Case 19-13906-JNP                            Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                   Desc Main
                                                                  Document     Page 7 of 59


             Michael                            Berkowitz                                         Case number (/
             First Name   Mrddle Name                Lasl Name




                                        l, the attorney for the debto(s) named in this petition, declare that I have informed the debto(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7 , 11 , 12, or 13 of title 1 1 , United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certifo that I have delivered to the debtor(s)
                                        the notice required [y.1 1 U.S.C. S 342(b) and, in a case in which S 707(b)(4)(D) applies, certify that I have no
lf you are not represented              knowledge after an inquiry that the infgrfiation in the scheddliis filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        ,C
                                             Signature of Attorney foiDeblor




                                             Andrew T. Cupit
                                             Printed name

                                             Law Offices of Andrew T. Cupit
                                             Firm name

                                             1 Eves Drive
                                             Number      Street

                                             Suite     1.1   1



                                             Marlton                                                       NJ             08053
                                             City                                                                         ZIP Code




                                             Contact phone
                                                                 (856) 783-s680                           Emait address   atcupit    @   cupitlaw.



                                             031 461 995                                                   NJ
                                             Bar number




 Official Form   101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                        page 7
           Case 19-13906-JNP                       Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                         Desc Main
                                                                 Document     Page 8 of 59



 Debtor    1 Michael
               Name  Ftrsl
                                              Berkowitz
                                              Middle   Name                 Last Name

 naht^r t
                                                                                                           d t. tn"r" is no oresumotion of abuse.
 (Spous€, if filing) FLsl    Name             Middle   Nam€               Last Name                        O Z. tne calculation to determine if a presumption of
                                                                                                                     abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: District of New Jersey                                                      Means Test Calculation (Official Form 1224-2).

 Case number                                                                                               E    a.   fne Means Test does not apply now because of
  (lf known)                                                                                                         qualified military service but it could apply later.



                                                                                                           E    CnecX if this is an amended filinq


Official Form 1224-1
Ghapter 7 Statement of Your Gurrent Monthly Income                                                                                                                       12t15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for being accurate. lf more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). lf you believe that you are exempted from a presumption of abuse because you
do not have primarify consumer debts or because of qualifying military service, complete and file Sfafement of Exemption from Presumption ol
Abuse Under $ 707(b)(2) (Official Form 1224-1Supp) with this form.

                 Galculate your Gurrent Monthty tncome
@
 1. What is your marital and filing status? Check one only.
      il    Not married. Fill out Column A, lines 2-11.
      I     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-1 1.

      D     Married and your spouse is NOT filing with you. You and your spouse are:
            D     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
            O     Living separately or a re lega lly separated. Fill out Column A, lines 2- 1 1 ; d o not fill out Colum n B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. S 707(b)(7)(B).

      Flll In the average monthly Income that you recolved from all sourcoa, derlved during the 6 full months before you filo this
      bankruptcy case. 1 1 U.S.C. S 1 01 (10A). For example, if you are filing on September '1 5, the 6-month period would be March 1 through
      August    3'1 . lf the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. lf you have nothing to report for any line, write $0 in the space.

                                                                                                           Column A                 Column B
                                                                                                           Debtor      1            Debtor 2 or
                                                                                                                                    non-filing spouse
 2. Your gross wagGs, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                      $ 4.937.77               $

 3. Alimony and maintenance payments.                  Do not include payments from a spouse if
                                                                                                                           0.00
      Column B is filled in.                                                                                s                        $

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contnbutions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                              s    1,191.66

 5.   Net income from operating a business, profession,
                                                                        Debtor     1    Debtor 2
      or farm
      Gross receipts (before all deductrons)                             ee
      Ordinary and necessary operating expenses                        -$               -$
                                                                                                   CoDv
      Net monthly income from a business, profession, or farm                            q
                                                                                                   heie)
 o_   Net income from rental and other real property                    Debtor     1    Debtor 2
      Gross receipts (before all deductions)                             $$                  -
      Ordinary and necessary operating expenses

      Net monthly income from rental or other real prope(y
                                                                                                   ;"'15
 7    lnterest, dividends, and royalties



Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                           page   1
                Case 19-13906-JNP                            Doc 1      Filed 02/26/19 Entered 02/26/19 17:02:10                                            Desc Main
                                                                        Document     Page 9 of 59


Debtor      1                                                                                                 Case number      1,r




                                                                                                                  Column A                  Column B
                                                                                                                  Debtor   1                Debtor 2 or
                                                                                                                                            non-filing spouse
          Unemployment compensation
          Do not enter the amount if you contend that the amount received was a benefit
          under the Social Security Act. Instead, list il           here:              I
                For you       ..

                For your spouse... ............

          Pension or retirement income. Do not include any amount received that was               a
          benefit under the Social Security Act
    10    Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or paymenls received
          as a victim of a war crrme, a crime against humanrly, or international or domestic
          terrorism. lf necessary, list other sources on a separate page and put the total below.



                                                                                                                   c

           Total amounts from separate pages, if any.                                                             +$                        +$

    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                         s     6,129.43 +


llEl                  o"r".-,,r" whether the Means rest Appties to you
    12.   Calculate your current monthly income for the year. Follow these steps.
          12a.       Copy your total current monthly income from line       'l 1.                                                    Copy line 11   here)       $ 6.1 29.43
                     Multiply by 12 (the number of months in a year).                                                                                           x12
          12b. The result is your annual income for this part of the form.                                                                             12b.     $   73 553 16

    13. Calculate the median family income that applies to you. Follow these steps

          Fill in the state in which you live.                                  NJ

          Fill in the number of people in your household

          Fill in the median family income for your state and size of          household.                                             ...              13       s 101 ,1 63.0(
          To find a list of applicable median income amounts, go online using the link specified in the separate
          instructions for this form. This list may also be available at the bankruptcy clerk's office.

    14. How do the lines compare?

          14a.   I     Line 1 2b is less than or equal to line 1 3. On the top of page 1, check box 1, There is        no presumption of abuse.
I                      Go to Part 3.

:         14b.D Linel2bismorethanline'l3.Onthetopofpagel,checkbox2,ThepresumptionofabuseisdeterminedbyForml22A-2
'                      Go to Part 3 and fill out Form 122A-2


t!!s|                  Sisn Betow

                                     !1e," ff eclare ,199!!gllJ)rof
                      By signing                                    perjury that the information on this statement and in any attachmenls is true and correct
                                       |                -
                      X,
                      |'             ./ i/
                                .'. '"/
                                           /

                                        : ']
                                               /   t-        ,.'\
                                                               ..L--"
                                                              './-/-
                                                              ,'                                      ,c
                                                                                                      -
                          Signature of Dd[tpr.1         .'                                                 Signature of Debtor 2
                                      !l
                          Date f -- ,')t / ),.,. I                                                         Dare
                              MM /' DD / YYYY '                                                                   MM    / DD / YYYY
                          f   f you checked line 14a, do NOT fill out or file Form 122A-2.

                          lf you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 1224-1                                    Chapter 7 Statement of Your Current Monthly Income                                                            page 2
              Case 19-13906-JNP                                   Doc 1        Filed 02/26/19 Entered 02/26/19 17:02:10                                Desc Main
                                                                              Document      Page 10 of 59




      Deblor     1
                                Michael                        Berkowitz
                                Firsl Name                                                 Lasi Name

      Debtor 2
      (Spouse,       itfi|ng)   FrsrName                      Mrddle   Name                Lasl Name


      United States Bankruptcy Courl for              lhe: District of New Jersey

      Case number
      (lf known)                                                                                                                                       Q   CnecX if this is an
                                                                                                                                                           amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                         04t16
  Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
  information. lf more space is needed, attach a separate sh€€t to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


  I*lTIf                  Give Details About Your Marital Status and Where You Lived Before


      1. What is your current marital status?
  -       D      Married
          d      Not married


      2. During tho last               3 years, have you lived anywhere other than where you live now?

         Duo
         d V"r.            List all of the places you lived in the lasl 3 years. Do nol include where you ttve now

                      Debtor 1:                                                     Dates Debtor       I   Debtor 2:                                        Dates Debtor 2
                                                                                    lived there                                                             lived there

                                                                                                           E Sur" as Debtor     1                          E S"r"     as Debtor   1




                        53 Country Club Lane                                        rro^ 04/91/NO4                                                             From
                       Number                Street                                                           Number street
                                                                                    To ii/2i12016                                                              To


                        Marlton                            NJ      08053
                       City                                State ZIP Code                                     City                  State ZIP Code

                                                                                                           D S"ru as Debtor     1                          Q S"r" as Debtor       1




                                                                                    From                                                                       From
                       Number                Street                                                           Number   Street
                                                                                    To                                                                         To




                       City                                state zlP code                                     City                  State   ZIP Code


      3. WithinthelastSyears,didyoueverlivewithaspouseorlegal                                      equivalentinacommunitypropertystateorterritory?(Communitypropefty
         states and territorles include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         O tto
         d y.r. Make sure you fill out Schedule H. Your Codebtors                          (Official Form 1O6H).




                        erprrin tt e Sources of Your Income
 EE!
Ofiicial Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page   1
             Case 19-13906-JNP                              Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                          Document      Page 11 of 59


Debtor   1
                    Michael                          Berkowitz                                                        Case number 1l
                     FiBt Ntme        Midde Name              Lasi Name




 4.   Dld you have any Income from employmont or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part{ime activities.
      lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      O      tto
      Ef V"r.        Fill in the details

                                                                     Dcb'tort      ii,       .,1
                                                                                                                                D.btor   2


                                                                     Sources of income             Gross     incoms             Sourceg of income            Gross income
                                                                     Check all that apply.         (bafore deduclions   and     Check all that apply.        (before deductions and
                                                                                                   exclusions)                                               exclusions)

                                                                      d   w"g"", commissions,                                   E   W"9"", commissions,
              From January 1 of current year until                                                               9,875.54           bonuses, tips
                                                                          bonuses, tips
              the date you flled for bankruPtcy:
                                                                      E   operating   a business                                E   Operating   a business

                                                                      d w"g"., commissions,                                     E   w"g"", commissions,
              For last calendar year:                                     bonuses, tips                         55,345.47           bonuses, lrps
              (January      1    to December   31,##_)                E   operating   a business                                0   Operating   a business


                                                                      d   w"g"", commissions,                                   D   W"g"t, commissions,
              For tho calendar yoar bsfore that:                          bonuses,    tips                                          bonuses, lps
                                                                                                   c            56,197.00
              (January 1 to December           31,2317--) D               Operating   a business                                E   Operating a business
                                                    YYYY




      Dld you rocelvo any other Income durlng this year or tho two prevlous calendar years?
      fnclude income regardless of whether that income is taxable. Examples ol other income are alimony; child support; Social Security'
                                                                                                                                         royalties; and
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits;
      gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

         List each source and the gross income from each source separately. Do not include income lhat you listed in line 4.

         Ono
         7   Ves. Fill in the details.
                                                                      oittoi r                                                    D6htor 3                        i,,::;::I .   :




                                                                      Sourcec of  Incomo               Grogl Income from          Source3 of income          Grotg Income from
                                                                      Describe   below.                oach aource                D€scribe below.            eech soutce
                                                                                                       (beforo deduclions and                                (before deductions and
                                                                                                       €xclusions)                                           exclusions)




                   From January 1 of current Year until
                                                                     Alimony                       g             2,382.32
                   th6 date you flled for bankruptcy:




                   For laEt calendar year:
                                                                     Alimony                       $
                                                                                                                14,299.92
                                                                                                   e
                   (January 1 to December          31,2q9-)
                                                     YYYY




                   For the calendar year before that:                Alimony                                    14,299.92
                   (January "l to December         31,2!!-)
                                                     /YYY




                                                                                                                                                                            page 2
 Official Form 107                                         Statement of Financlal Affairs for Individuals Filing for Bankruptcy
            Case 19-13906-JNP                                   Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                            Desc Main
                                                                              Document      Page 12 of 59


Debror   1          Michael
                           Name         Mrddle   Name
                                                         Berkowitz
                                                                 Lasl
                                                                                                                Case number 1l
                    Fkst




]fr|                List certain Payments You Made Before You Filed for Bankruptcy


 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

       D     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consum er              debts are defined in 1 1 U.S.C. S 101 (8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425" or more?

                    O      t,to. Go to tine 7.

                    E      Ves. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                                total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                                child support and alimony. Also, do not include payments to an allorney for this bankruptcy case.
                    " Subject to adjustment on 4101119 and every 3 years after thal for cases filed on or afier the date of adjustment.

       il    y"r.   Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any credilor a total of$600 or more?

                    fl ruo. co to tine 7.
                    d v.r. List below each creditorto whom you paid a total of $600 or more and the total amount you paid that
                                   creditor. Do not include payments for domestic support obligations, such as child support ano
                                   alimony. Also, do not include payments to an attorney forthis bankruptcy case.


                                                                                    Datesof     Total amount   paid       Amount you still   owe   Was this payment for...
                                                                                    payment


                            Nationstar Mortgage,                 LLC               o!o!2019 9             2,496.64       I        152,669.29 d rons"s"
                            Creditor s Name
                                                                                                                                             Dc*
                            P.O. Box 650783                                        02/01/2019
                            Number     Skeet                                                                                                       E    Credit card

                                                                                                                                                   E    Loan repayment

                                                                                                                                                   D    Supptiers or vendors
                            Dallas                       TX       75265
                                                                                                                                                   D    otn",
                            City                        State           ZIP Codo




                            Ford Credit                                            O1lO7l2O19   g         1,443.58       g         39,726.56       DMn,to.o.
                                       Name
                                                                                                                                                   V c",
                            P.O. Box 220564                                        oll13t201e
                                                                                                                                                   D Credit card
                                                                                                                                                   D    Loan repayment

                                                                                                                                                   f]   Suppliers or vendors
                            Pittsburgh PA                         15257                                                                            E    oln"t
                            City                                        ZIP




                                                                                                                                                   fJ   tlortg"gu
                            Credrtors Name
                                                                                                                                                   E c"t
                            Number     Street
                                                                                                                                                   D Credit card
                                                                                                                                                   B Loan repayment
                                                                                                                                                   E Suppliers or vendors
                            Crty                        Slate           ZIP Code
                                                                                                                                                   E otn"t



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 3
         Case 19-13906-JNP                             Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                Desc Main
                                                                    Document      Page 13 of 59


Debtor   1      Michael                        Berkowitz                                          Case number
                                       Name             Last Name




 Z. Within I year before you filed for bankruptcy, did you make         a payment on a debt you owed anyone who was an insider?
     lnsiders include your relatives; any general partners; relatives ofany general partners; partnerships ofwhich you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 1 1 U.S.C. $ '101. Include payments for domestic support obligations
     such as child support and alimony.

     druo
     Q Yes.         List all payments to an insider.
                                                                           of Total amount
                                                                        Dates                        Amount you   still   Reason for this payment
                                                                        paymsnt paid                 owe



             lnsrde/s Name



             Number      Street




             Crly                              State    ZIP Code




             Insrde/s Name




                                               State    ZIP Code



 B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefit€d
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     dNo
     E yes. List all payments         that benefited an insider.
                                                                       Date6   of   Total   amount   Amount you   still   Reason for this paymont
                                                                       payment      paid             owe                  lnclude creditor's name



             lnsidefs Name



             Number      Streel




             City                              State    ZIP Code




             lnsideis Name




             CitY                              State    ZIP Code




Ofiicial Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
           Case 19-13906-JNP                                  Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                    Desc Main
                                                                            Document      Page 14 of 59


Debror   1         Michael                              Berkowitz                                                   Case number
                           Name        Middle   Name            Lasl Name




![!                ldentify Legal Actions, Repossessions, and Foreclosures
 9. Within         1 year before      you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
       and contract disDutes.

       D     tto
       d     V"r. Fill     in the details.

                                                                        Nature of the case                    Court or agency                               Status of the case


                                                       v.             collection       action
                            LVNV Funding                                                                                                                    [l   eenoins
              "".",,,,"                                                                                                                                     D    on appeat
               Berkowitz                                                                                     49 Rancocas Road
                                                                                                             Number    Street                               D    Concluded

              casenumber DC-010466-06                                                                         Mt.   Holly                  NJ    08060
                                                                                                                                   state   zlP code




                                                            LLC        collection action                     Superior Court, Burlington           County
              caseti,e Midland Funding,                                                                     Coun Name
                                                                                                                                                            I    pendrns

                                                                                                                                                            E    on appeat
               v. Berkowitz                                                                                  49 Rancocas Road
                                                                                                             Number    Slreet                               E    Concludeo

              casenumber DC-000081-19                                                                         Mt.   Holly                  NJ    08060
                                                                                                            Crty                   State   ZIP Code



 10.   Within 1 year beforo you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
       Check all that apply and fill in the details below.

       d     ruo. co to tine 11.
       E     Ves. Fill in the information below.

                                                                                  Describe the   property                                   Date          Value ofthe property




                    Credrtor's Name



                                                                                  Explain what happened

                                                                                  D     Property was repossessed
                                                                                  D     Property was foreclosed
                                                                                  D     Property was garnished.
                    City                               state   zrp   code         lJ    Property was attached, seized, or levied

                                                                                  Descrlbo the property                                     Oato           Value of the propert)




                    Creditois Name




                                                                                  Explain what happened


                                                                                  E     Property was repossessed.
                                                                                  E     Property was foreclosed.

                                                       State   ZIP Code
                                                                                  E     Property was garnished.
                                                                                  0     eroperty was attached, seized, or levied



Official Form '107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
            Case 19-13906-JNP                               Doc 1             Filed 02/26/19 Entered 02/26/19 17:02:10                                Desc Main
                                                                             Document      Page 15 of 59


Debror   1           Michael                          Berkowitz                                                    Case number   or
                        Name        lvlidde   Name               Last Name




  11.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
        d     r.ro

        0     Yes. Fill in the details.

                                                                         Oescribe the action the creditor   took                      Date   action      Amount
                                                                                                                                      was taken



             Number     Slreet




             Crty                             State   ZIP   Code         LaSt 4 digits of account number: XXXX_


  12.   Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
        creditors, a court-appointed receiver, a custodian, or another official?
        EI   ruo
        E    yes


                     List Gertain cifts and contributions
@
  13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        El   ruo
        O    Ves. Fill in the details for each oift.


               Gifts with a total value of more than        $600        Oescribe the gifts                                            Date6 you   gavg     Value
               per person                                                                                                             the gifts




             Person to Whom You Gave the Gift




             Number     Street




             City                             State   ZIP Code


             Person's relationship to you


             Gifts with a total value of more than       $600           Dcscribe the gifts                                            Dates you   gave    Value
             por p0rson                                                                                                               the gifts



             Person to Whom You Gave the




             City                             State   ZIP Code


             Person's relatronship to you



Oflicial Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
            Case 19-13906-JNP                                  Doc 1              Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                                 Document      Page 16 of 59


Debtor      1            Michael                           Berkowitz                                                     Case number tr
                             Name         Mrddle   Name              Last Name




  14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

        Uruo
        E       Yes. Fill in the details for each oift or contribution.

                 Gifts or contribution3 to         charities                Describe what you contributed                                          Date   you            Value
                 thet total more than t600                                                                                                         contributed




                Chanty s Name




            Crty                 State      ZIP Code




                          .,",              .ort."
@                                ""*",n
  15.   Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?

        dNo
        O Yes Fill in the details.
                 Describo tho property you lost           and               Descrlbe any insurance coverage for the    loss                        Dato of   your        Value of property
                 how tho loss       occurred                                                                                                       loss                  lost
                                                                            Include the amounl lhat insurance has paid. List pending   insurance
                                                                            claims on line 33 of Schedule NB: PropeftV.




                         l.,", certaan payments or Transfers
El
  16.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
        you consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        ONo
        6   Y"..         Fill in the details.

                                                                            oescription and value of anv propertv transferred                      Date payment     or   Amount of payment
                summit Financial Education,                          Inc                                                                           transfer was
                 Pgson VVlrc t^/as Pa,d                                                                                                            made

                4800 East Flower                   Street                  Cash
                 t\ffi                                                                                                                             02t18t2019 $                      14.95



                Tucson                          AZ        85712
                 City                           Stale     ZIP Code

                surnlulg.olg
                 Email or website address


                 Person Who l\4ade the Payment, tf Not You



Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 7
           Case 19-13906-JNP                                  Doc 1              Filed 02/26/19 Entered 02/26/19 17:02:10                                   Desc Main
                                                                                Document      Page 17 of 59


Debtor   1           Michael
                     Ftrst   Name        Midde   Name
                                                         Berkowitz
                                                                    Last Name
                                                                                                                      Case number   1r




                                                                            Description and value of any property   transferred             Date payment    or    Amount of
                                                                                                                                            transfer was   made   payment


              Pe6on Who Was Paid




              Crty                               State   ZIP Code




              e   mait or *eosrte   aooias


                        Who Made the Pavment. rf Not You



 17.   Within 1 year before you fited for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

       druo
       D     Yes. Fill in the details

                                                                            Degcription and valu6 of any property transferred                Date payment   or   Amount of payment
                                                                                                                                            transfer was
                                                                                                                                            made
              Person Who Was Paid



              Number          Skeel




              Crty                               State   ZIP Code

 18.   Within 2 years before you filed for bankruptcy, did you s€ll, trade, or otherwise transfer any property to anyone, other than property
       transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your properly).
       Do nol include gifts and transfers that you have already listed on this statement.
       druo
       E Yes.        Fill in the details.

                                                                            Doscription and value of   property       Describe any property or payments   received   Oate transfer
                                                                            transferred                               or debts paid in exchange                      was made

              Person Who Received Transfer



              Number          Streel




              City                               State   ZIP Code


              Person s relationship to you          _

              Person Who Received Transfel




              City                               State   ZIP Code

              Person's relationship to you          _
Official Form        107                                    Statement of Financial Affairs for Individuals Filing for           Bankruptcy                              page 8
            Case 19-13906-JNP                              Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                  Desc Main
                                                                          Document      Page 18 of 59


Debtor   1           Michael
                     Ftst   Name      Middle   Name
                                                      Berkowitz                                                    Case number
                                                                 Lasl




  19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protectton devices.\

       El    ruo
       O     Yes. Fill in the details

                                                                        Description and value of the property   transferred                                   Date transfer
                                                                                                                                                              wag made



             Name of trust




@                  Llrt Gertaln Flnanclal Accountr, lnrtrumcntr, safe Deporlt Boxel, and storage unltr
 20.   Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
       closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
       brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
       dxo
       E     Yes. Fill in the details.

                                                                        Last 4 digits of account   number   Type of account   or     Date account was     Lagt balance before
                                                                                                            instrument               closed, sold, moved, closing or transfer
                                                                                                                                     or transferred

              Name of Flnanclal Instltutlon
                                                                        XXXX-                               U Checking                                     $_
              Number         Streel
                                                                                                            fJ savings
                                                                                                            E    Money market

                                                                                                            E    Brokerage
                                           State
              Clty                                    ZIP Code
                                                                                                            O    otn"r-

                                                                        XXXX-                               E Cnecting
              Name of Financial lnstltutlon
                                                                                                            O savings
              Number         Street                                                                         D Money market
                                                                                                            Q Brokerage
                                                                                                            E otn".
              City                         State      ZIP Code


 21. Do   you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
       securities, cash, or other valuables?
       Ef    No
       0    Yes. Fill in the details.
                                                                        Who else had accegs to     it?                 Describe the contents                      Do you   still
                                                                                                                                                                  have it?

                                                                                                                                                                  EHo
              Name of Financlal lnstitutlon                                                                                                                       0   Yes


              Number         Street                                     Number Street


                                                                        City      State      ZIP Code

              Clty                         State      ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
          Case 19-13906-JNP                                  Doc 1              Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                               Document      Page 19 of 59


Debtor   1          Michael                             Berkowitz
                     Fkst   Name      Middle   Name               Lasl Name




 22.Have you stored property in a storage unit or place other than your home                                      within   1 year   before you filed for bankruptcy?
     dno
     O    Yes. Fill in the details.
                                                                         Who else has or had access to it?                           Describe the contents                      Do you   still
                                                                                                                                                                                have it?

                                                                                                                                                                                DNo
              Name of Storage Facility
                                                                                                                                                                                O Yes

              Number         Street                                       Number   Street



                                                                          CityState ZIP Code

              City                         State       ZIP Code




Etil                   ldcntlfy Piop.rty You Hold or Control tor Eonr.ono Etrc
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     dno
     O       Yes. Fill in the d€tails.
                                                                         Where is the property?                                      Oescribo the property                Value



              Owner's Name

                                                                       Number Street
              Number         Street




                                                                       City                             State      ZIP Code
              Clty                         State       ZIP Code



@                      Gkc Dotellr about Envtronm.ntat tnformatlon
 For the purpose of Part 10, the following definitions apply:
 I   Environmenfar raw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of theee substances, wastes, or material.
 s   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
 *   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24.Has any governmental unit notified you that you may be liable or potentially liable under or in                                        violation of an environmental law?

     dHo
     0 Y"s. Fill in the details.
                                                                         Governmental       unit                       Environmental law, if you know    it              Date of notice




             Name of    3lte                                            Govemmental unll


             Number         Street                                      Number    Streel


                                                                        Clty                   State   ZIP Code



             Clty                        State        ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 10
            Case 19-13906-JNP                                Doc 1               Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                                                Document      Page 20 of 59


Debto.l          Michael                                Berkowitz                                                        Case number
                    First   Name       Middle   Name               Lasl Name




 25. Have     you notified any governmental unit of any release of hazardous material?

       dHo
       E Y"=. Fill in the details.
                                                                          Governmental   unit                        Environmental law, if you know   it                 Date of notico




             Name of        slte                                         Govemmental unlt


             Number Street                                               Number Streei


                                                                         Clty                State   ZIP Code


             Clty                           State       ZIP Code


 26.Have you been a party in any                   judicial or administrative proceeding under any environmental law? lnclude settlements and orders.

       El   no
       E    Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                           Court or agency                                Nature of the case
                                                                                                                                                                          caSe

            Case title
                                                                                                                                                                          D    eending

                                                                                                                                                                          E    on appeat
                                                                           Number   Street                                                                                D    Concluded


            Case number                                                    Clty                  State    ZIP Code




@                      Glvo        Drtellr About Your Burlne* or connectlon3 to Any Bu.lnoi3
 27.   Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            E    Asoleproprietororself-employed inatrade,profession,orotheractivity,eitherfull-timeorpart-time
            E    A member of a limited liability company (LLC) or limited liability partnership (LLP)
            E    A partner in a partnership
            E    An officer, director, or managing executive of a corporation
            O    An or,"ner of at least 5% of the voting or equity securities of a corporation

       d    No. Non" of the above applies. Go to Part 12.
       0    Yes. Check all that apply above and                    fill in the details below for each business.
                                                                           Describe the nature of the business                          Employer ldentification number
                                                                                                                                        Do not include Social Security number or lTlN.


                                                                                                                                        EIN:
             Number          Street
                                                                           Name of accountant or bookkeeper                             Dates business existed


                                                                                                                                        From _              To
             Clty                               State   ZIP Code

                                                                           Describe the nature ofthe buainess                           Employer ldentification number
                                                                                                                                        Do not include Social Security number or lTlN.
             Bualnesa Name

                                                                                                                                        EIN:
             Number          Street
                                                                           Name of accountant or bookkeeper                             Dates business existed



                                                                                                                                        From                To
             City                               State   ZIP Code


Official Form 107                                         Statement of Financial Affairs for lndividuals Filing for Bankruptcy                                                page   1 1
             Case 19-13906-JNP                          Doc 1                Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                            Document      Page 21 of 59


Debtor   1
                     Michael                       Berkowitz                                                         Case number (/
                     First Name      Middle Nam€              Lasl Nam€




                                                                                                                                      Employer ldentification number
                                                                          Describe the nature of the business
                                                                                                                                      Do not include Social Socurity number or lTlN
              Business Nam€
                                                                                                                                      EIN:

              Number        Street
                                                                          Nams of accountant or bookkeeper                            Dates business existed




                                                                                                                                      From               To
              City                                 ZIP Code




 28.   Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

       fl    tto
       D     Yes. Fill in the details below.

                                                                      Date issued




                                                                      MIV'IDD/YYYY



              Number        Streel




              Clty                                 ZIP Code




                      Etsn Betow
@
         I have read the answers on this Stalement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
         answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
         in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.




         *'                 '/ ,'                                                      T
              Signature of Debtor 1 I                                                      Signature of Debtor   2



              Date 7,. .:'.',r-l                                                           Date

         Did you attach additional pages            to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Otficial Form                        107)?

         fl tto
         6 v"t

         Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
         d    r.ro

         E    Yes. Name ofoerson                                                                                            Attach the Bankruptcy Petition Preparer's Notice
                                                                                                                            Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 12
 Case 19-13906-JNP              Doc 1    Filed 02/26/19 Entered 02/26/19 17:02:10        Desc Main
                                        Document      Page 22 of 59



                               UNITED STATES BANKRUPCTY COURT
                                       District of New Jersey


In   re:       MICHAEL       BERKOWI'fZ,         )     Case No.:
                                                 )
                                  Debtor.        )     Chapter       7
                                                 )



                                        CONTINUATION SHEET
STATEMENT OF FINANCIAL AFFAIRS

Part 4 - Legal Actions,           Repossessions and Foreclosures
l-:nt-   inn    af   Qrrif        Nature of Proceeding        Court or Agengy        Stal-us   ot:
And Case Number                                               and Loc;rl ion         !t9p119ttrc211

Klngs Grant Open                  Collection     of Condo     liuperior Court          Judqment
      Assor-i.:t iori
Sn.ar-e                           MairrLenance                llurl irrqt on (l()urlly 1or Plarnti    1   |
v. Berkowitz                                                  Spcr:ial Cl ivil P;rrt
DockeL no.: DC*8450-18
              Case 19-13906-JNP                     Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                 Document      Page 23 of 59



Debtor   1          Michael               Berkowitz

Debtor 2
(Spouse, if filing) First   Name          Middle   Name             Last Name



United States Bankruptcy Court for the: District of New Jersey

Case number
(lf known)
                                                                                                                                                    E   Cnecx if this is an
                                                                                                                                                        amended filing



  Official Form 106Dec
  Declaration About an Individual Debtorts Schedules                                                                                                              12t15


  lf two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonmentfor up to 20
  years, or both. 18 U.S.C. SS 152,1341,1519, and 3571.




  I                  Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you                lill out bankruptcy forms?
  -
        Ef   No
        O Yes.         Nameofperson                                                             AlLach Bankruptcy Petition Preparer's Noflce, Declaration, and

                                                                                                Signature (Official Form 1 19)




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.



                                                                   x
          Signature of Debtor      1                                    Signature of Debtor 2


          oate    9,: ,:-'.t r,4'                                       Date
                  i/M/ DD /        YYYY                                         MM/ DD   /   YYYY




  Ofiicial Form '106Dec                                    Oeclaration About an Individual Debtor's Schedules
          Case 19-13906-JNP                                Doc 1    Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                                   Document      Page 24 of 59




 Debtor   1        Michael                       Berkowitz

 Debtor 2
 (Spouse, if filing) First Name                   Middle   Name               Lasl Name



 United States Bankruptcy Court for the: Dislrict of New Jersey

 Case number
                                                                                                                                                    D     Cneck if this is an
                    (lf known)                                                                                                                            amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Gertain Statistical Information                                                                                          12t',15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at tho top of this page.


EEE            su--"r,." tour ot*"rt
                                                                                                                                                Your assets
                                                                                                                                                Value of what you own

1    Schedule    A/B Propefty (Official Form 106A/8)
                                                                                                                                                            180,297.50
     1a. Copy line 55, Total      real eslate, lrom Schedule A/B..........


     to. Copy line 62, Total personal property, from Schedule            NB                                                                                   35,826.36


     1c. Copy line 63,     Total of all property on Schedu/e A/B..................                                                                          216,123.86



EEI            su--"ri."          You,   Li"biliti"t

                                                                                                                                                 Your liabilities
                                                                                                                                                 Amounl you owe

     Schedule D. Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of clatm, at the bottom of the last page of Part 1 ol Schedule D
                                                                                                                                                      $      192,425.55


     Schedu/e E/F. CreditorsWho Have Unsecured C/arms (Official Form 106E/F)
                                                                                                                                                                     0.00
     3a. Copy the     total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F...............................

     3b. Copy the total cfaims      from Part 2 (nonpriority unsecured claims) from line 6j of Schedu/e E/F ..........................           +c           70,510.31


                                                                                                                       Your total liabilities                262,935.86



E4l            sr--t.i."          You,   In"o-"      und      Etp"n"""

+.   Schedule     l; Your lncome (Official Form       1061)

     Copy your combined monthly income from line 12 of Schedule I
                                                                                                                                                      $         4,825.52


5.   Schedule J. Your Expenses (Official Form 106J)
     Copy your monthfy expenses from line 22c ol Schedule J                                                                                           $         4,672.61




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                page 1 of2
               Case 19-13906-JNP                            Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                         Desc Main
                                                                          Document      Page 25 of 59

   Debtor    1        Michael                           Berkowitz                                        Case number   ot
                                         Mddle   Name         Lasl Name




  ]![|               Answer These Questions for Admanistrative and stritistical Records

   6.    Are you filing for bankruptcy under Chapters 7,11, or 13?

         E     ruo. Vou have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
         El    v..

   7     What kind of debt do you have?

         El    your. debts are primarily consumer debts. Consum er debts are those "incurred by an individual primarily for a personal,
               family,orhouseholdpurpose."ll U.S.C.Sl0l(8).Fill outlinesS-9gforstatistical purposes.28US.C.S159.

         E     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



   8.    From the Staternent of Your Current Monthly Income. Copy your total current monthly income from Official
         Fotm 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.                                                               $          6,1   29.43




   9. Copy the        fof   f   owing special categories of claims from Part 4, line 6 of Schedule E/F


                                                                                                                Total claim


          From Part 4 on Schedure E/F, copy the following:


         9a. Domestic support obligations (Copy line 6a.)
                                                                                                                                 0.00


         9b. Taxes and certain other debts you owe lhe governmenl. (Copy line 6b.)                                               0.00


         9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                                 0.00


         9d. Student loans. (Copy line 6f.)
                                                                                                                                 0.00


         9e. Obligations arising out of a separation agreement or divorce that you did not report    as         q                0.00
             priority claims. (Copy line 69.)


         9f.   Debts to pension or profifsharing plans, and other similar debts. (Copy line   6h.)           + $-q.Oq


         99. Total. Add lines 9a through 9f                                                                     q                0.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical lnformation                                                       page 2 ol 2
           Case 19-13906-JNP                                         Doc 1       Filed 02/26/19 Entered 02/26/19 17:02:10                                      Desc Main
                                                                                Document      Page 26 of 59




Debtor   1            Michael                             Berkowitz
                      Fi6t    Name                        lt4rddle   Name               Lasl Name

Debtor 2
(Spouse, if filing)   Ftrst   Name                        Mrddle     Name               Lsst Name


United States Bankruptcy Courtforthe: District of New Jersey

Case number
                                                                                                                                                                   E   Cnecx if this is an
                                                                                                                                                                       amended filing

Official Form 1064/8
Schedule A/B: Property                                                                                                                                                           12t15

In each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer €very question.

               Describe Each Residence, Bualding, Land, or other Real Estate You own or Have an Interest In
@
't. Doyouownorhaveanylegal orequitableinterestinanyresidence,building,                                           land,orsimilarproperty?
    O    No. Go to Part 2.
    d    Y"r. Where is the property?
                                                                                 What is the property?      Check all that apply
                                                                                                                                         Do not deduct secured claims or exemotions. Put
                                                                                 Ef Single-family home                                   the amount of any secured claims on Schedule D:
              26 Forestview Court                                                                                                        Creditors Who Have Claims Secured by Propefty.
             Street address, if available, or other description
                                                                                 E Duptex or multi-unit building
                                                                                 D Condominium or cooperative                            Current value of the          Current value of the
                                                                                 D Manufactured or mobile home                           entire property?              portion you own?
                                                                                 E Lano                                                  $       180,297.50            $    180,297.50
                                                                                 E Investment property
              Marlton                                  NJ            08053                                                               Describe the nature of your ownership
             City                                     State          ZIP Code
                                                                                 D Timeshare
                                                                                                                                         interest (such as fee simple, tenancy by
                                                                                 E    otner
                                                                                                                                         the entireties, or a life estate), if known.
                                                                                 Who has an interost in the property? Check one
                                                                                                                                         Fee simole
              Burlington                                                         E[ Debtor t       onty
             County                                                              O    Debtor 2 only
                                                                                 0    D"bto|. 1 and Debtor 2 only                        E    Cnect if this is community property
                                                                                                                                              (see instructions)
                                                                                 0    At least one of the debtors and another
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:
    lf you own or have more than one, list here
                                                                                What is the property?      Check all that apply
                                                                                                                                         Do not deduct secured claims or exemotions. Put
                                                                                E    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                                         Creditors Who Have Claims Secured by Property.
             Street address,         f   available, or other description
                                                                                E    Duplex or multi-unit burlding
                                                                                E    Condominium or cooperative                          Current value of the Current value of the
                                                                                Q    Manufactured or mobile home                         entire property?     portion you own?
                                                                                E    Lana                                                $$
                                                                                E    lnvestment property
                                                                                E    Timeshare
                                                                                                                                         Describe the nature of your ownership
             City                                     State          ZIP Code                                                            interest (such as fee simple, tenancy by
                                                                                B    ot,e,                                               the entireties, or a life estate), if known.
                                                                                Who has an interest in the property? Check         one

                                                                                O    Debtor   t   only

             County                                                             D Debtor 2 onty
                                                                                Q D"btor 1 and Debtor 2 only                             E    CnecX if this is community property
                                                                                D At teast one of the debtors and another                     (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:


Official Form 1064/8                                                            Schedule A/B: Property                                                                       page   1
                 Case 19-13906-JNP                         Doc 1             Filed 02/26/19 Entered 02/26/19 17:02:10                                                    Desc Main
                                                                            Document      Page 27 of 59
  Debtor     1
                         Michael                      Berkowitz                                                       Case number       pl   rno*n;
                                        Middle Name             Last Name




                                                                            What is the property? Check all that apply                           Do not deduct secured claims or exemptions. Put
        1?                                                                  Q     Single{amily home                                              the amount of any secured claims on Schedule D:
                                                                                                                                                 Creditors Who Have Claims Secured by Property.
                  Street address, if available, or other description        C     Duptex or multi-unit building
                                                                            E     Condominium or cooperative                                     Current value of the Current value of the
                                                                                                                                                 entire property?     portion you own?
                                                                            E     Manufactured or mobile home
                                                                            D     Lana
                                                                            E     Investment property
                  City                                       ZIP Code       E     Timeshare                                                     Oescribe the nature of your ownership
                                                                                                                                                interest (such as fee simple, tenancy by
                                                                            D     otn",                                                         the entireties, or a life estate), if known.
                                                                            Who has an interest in the property? Check            one

                                                                            D Debtor 1 onty
                 County
                                                                            E Debtor 2 only
                                                                            D Debto, 1 and Debtor 2 onty                                        ff    Cnecf if this is community property
                                                                                                                                                      (see instructions)
                                                                            E At least one of the debtors and another
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:


      Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here. ,._..........                                            .                                        .    ..)
                                                                                                                                                                           $       180,297.50




ilE                -=rr,:s:        rour yenrc;rcrs

 Do you own, lease, or have legal or equitable interest in any vehicl€s, whether they are registered or not? Include any vehicles
 you own that someone else drives. lf you lease a vehicle, also report it on Schedu/e G. Executory Contracts and tJnexpired Leases


 3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      QNo
      EI Y".

      3.1.       Make:                         Ford                         Who has an interest in the property? Check        one               Do not deduct secured claims or exemptions. Put
                                                                                                                                                the amount of any secured claims on Schedule D:
                 Model:                        Explorer                     Zl   Debtor   t   onty
                                                                                                                                                Creditors Who Have Claims Secured by Propefty.
                 Year:                        2017                          E Debtor 2 onty
                                                                            E Debtor 1 and Debtor         2 only                                Current value of the Current value of the
                 Approximate mileage:         36,000                                                                                            entire property? portion you own?
                                                                            Q    At least one of the debtors and another
                 Other information:
                                                                                                                                                          20,242.00                20,242.00
                                                                            D    Check if this is community property (see
                                                                                 instructions)



      lf you own or have more than one, describe here:

      3.2.       Make.                                                      Who has an interest in the property? Check        one               Do not deduct secured claims or exemptions. Put
                                                                                                                                                the amount of any secured claims on Schedule D:
                 Model:                                                     E Debtor t only                                                     Creditors Who Have Claims Secured by Propetv
                 Year:
                                                                            E Debtor 2 only
                                                                            0 Debtor l and Debtor         2 only
                                                                                                                                                Current value of the Current value of the
                 Approximate mileage.                                                                                                           entire property?     portion you own?
                                                                            E    At teast one of the debtors and another
                 Olher information:
                                                                            Q Check if this          is community property (see
                                                                                 instructions)




 Official Form 106A/8                                                       Schedule AJB: Property                                                                                page 2
             Case 19-13906-JNP              Doc 1             Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                             Document      Page 28 of 59
Debtor   1
                    Michael            Berkowitz                                                    Case number   ot
                                                 Last Name




                                                             Who has an interest in the property? check     one        Do not deduct secured claims or exemptions. Put
   3.3.         Make:
                                                                                                                       the amount of any secured claims on Schedu/e D:
                Model:
                                                             O   Debtor'1 onty
                                                                                                                       Creditors Who Have Claims Secured by PropetA.
                                                             O   Debtor 2 onty
                Year:
                                                             E   D"btor   1 and Debtor 2 only
                                                                                                                       Current value of the Current value of the
             Approximate mileage                                                                                       entire property?     portion you own?
                                                             D   nt teast one of the debtors and another
                Other information:
                                                             E   Ctrect if this is community property (see
                                                                 instructions)


                                                             Who has an interest in the property? Check     one        Do not deduct secured claims or exemptions. Put
   3.4.         Make:
                                                                                                                       the amount of any secured claims on Schedu/e D:
                Model:                                       Q   Debtor   t   onty
                                                                                                                       Creditors who Have Claims Securcd by Propefty.
                                                             E Debtor 2 only
                Year:
                                                             D Debto, 1 and Debtor 2 only                              Current value of the Current value of the
             Approximate mileage:                                                                                      entire property? portion you own?
                                                             D nt teast one of the debtors and another
                Other information:
                                                             E   Ctrect if this is community property (see
                                                                 instructions)




  Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples. Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
  E      r'ro
  D      yes


   4.1.         Make:                                        Who has an interest in the property? Check     one        Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedu/e Dl
                Model:                                       E   Debtor 1 only
                                                                                                                       Creditors Who Have Claims Securcd by Propedy.
                                                             D   Debtor 2 only
             Year:
                                                             D   Debto|I and Debtor 2 only                             Current value of the Current value of the
             Other information                               E   At teast one of lhe debtors and anotner               entire property? portion you own?

                                                             E Cnecl lf this is community       property (see
                                                                 inslructions)



  lf you own or have more than one, list here:

   4.2.      Make:                                           Who has an interest in the property? Check     one        Do not deduct secured claims or exemotions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
                Model
                                                             D   Debtor   t   only
                                                                                                                       Creditors Who Have Claims Secured by Propedy.
                                                             D   Debtor 2 onty
             Year:                                                                                                     Current value of the Current value of the
                                                             D   oebtor   1 and Debtor 2 only
                                                                                                                       entire property?     portion you own?
             Other information:                              D   Rt teast one of the debtors and another


                                                             E Cnect if this is community       property (see
                                                                 instructions)




  Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                       20,242.00
  you have attached for Part 2. Write that number here                                                                                    t



Official Form 1064/8                                          Schedule AJB: Property                                                                    page 3
                    Case 19-13906-JNP                              Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10           Desc Main
                                                                                 Document      Page 29 of 59
    Debror        1       Michael                              Berkowrtz                                   Case number   (,r
                           First   Name      [.{iddle   Name         Lasi Name




llEtiFil                 Describe Your Personal and Household ltems
                                                                                                                                    Current value of the
    Do you own or have any legal or oquitable interest in any of the following items?                                               portion you own?
-                                                                                                                                   Do not deduct secured claims
                                                                                                                                    or exemptions.

    6.       Household goods and furnishings
             Examples: Major appliances, furniture, linens, china, kitchenware
             E tto
             E ves Describe......... Miscellaneous                  furniture, kitchenware and appliances.                           s              1   ,150.00

    7.       Electronica
             Examples. Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                       collections; electronic devices including cell phones, cameras, media players, games
             O    tto
             E    Yes. Describe.........     2 TVS, Computer, printer, xbox                                                           s                 550.00

    I        Colloctibles of value
             Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       slamp, coin, or baseball card collections; other collectrons, memorabilia, collectibles
             O    t'to
             E    yes. Describe..........
                                          paintings, comic book collection                                                            $                 250.00

    9. Equipment for sports and hobbies
             Examples. Sports, photographic, exercise, and olher hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                       and kayaks; carpentry tools; musical instrumenls
             E    tto
             ?    yes Describe..........
                                         guitar, golf clubs, 2 kayaks                                                                 $                 350.00

    10.      Firearms
             Examples. Pistols, rifles, shotguns, ammunition, and related equipment
             Zruo
             E    Yes. Describe..........


    1   1.   Clothes
             Examples: Everyday clothes, furs, leather coals, designer wear, shoes, accessories
             Eno
             ? ves. Describe... ..            Miscellaneous clothing                                                                  s                 450.00


    12.      Jewelry
             Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, walches, gems,
                       gold, silver

             ?l   ruo
             D    Yes. Describe...........

    13.      Non-farm animals
             Examples. Dogs, cats, birds, horses

             E    t'to
             O    Yes. Describe...........                                                                                                                 0.00
                                             2 dogs (family pets)
    14.Any other personal and household items you did not already list, including any health aids you did not list

             Eruo
             Q    Yes. Give specific
                                                                                                                                      $                 200.00
                  information                 Miscellaneous tools

    15.      Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached               $             2.950.00



        Ofiicial Form 106A/8                                                     Schedule A/B: Property                                           page 4
               Case 19-13906-JNP                                Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                     Desc Main
                                                                              Document      Page 30 of 59
Debtor     1
                     Michael                              Berkowitz                                    Case number   or
                       F st Name




                 Describe Your Financial Assets

Oo you own or have any legal                   orequitable interest in any of the following?                                               Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured claims
                                                                                                                                           or exemplrons.


r6.   Cash
      Examples. Money you have in your wallet in your home, in a safe deposit box, and on hand when you file your petition

      ENo
      E    yes                                                                                                            Cash                               25.00



17.   Deposits of money
      Examples. Checking, savings, or other financial accounts; certificates of deposit, shares in credit unions, brokerage houses,
                and other similar institulions. lf vou have multiole accounts with the same institution, list each.
      fl   No
      ?l   yes                                                                 Instrtulron name


                                         l7   1.   Checking account:           TD Bank                                                                    1,928.91

                                         |   7.2. Checking accountl

                                         17.3.     Savings account:

                                         17.4.     Savings account:

                                         17.5.     Certificates of deposit:

                                         l7 6. Other financial account.

                                         17.7 Other financial accountl

                                         r7.8. Other financial account:


                                         17.9. Other     financial account:




18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      dNo
      E    Yes                           lnstitution or issuer name




i9. Non-pubticly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

      ?l No                              Name of entity                                                                   % of ownership
                                                                                                                          AO/
      E Yes. Give specific                                                                                                V /o       o/o

           information about
                                                                                                                          0"/"       .k
           them.......................
                                                                                                                          w/o        %




 Official Form 106A/8                                                         Schedule A/B: Property                                                     page 5
               Case 19-13906-JNP                               Doc 1            Filed 02/26/19 Entered 02/26/19 17:02:10          Desc Main
                                                                               Document      Page 31 of 59
Debtor     1
                     Michael                           Berkowitz                                        Case number   0i Anow,)
                                                                   Lasl Name




      Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers'checks, promissory notes, and money orders
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

      El   ruo

      E    Yes. Give specific            tssuer name
           information about
           them.......................



                                                                                                                                  $



21. Retirement           or pension accounts
      Examples. Interests in lRA, ERISA, Keogh, 401(k),403(b), thrifl savings accounts, or other pension or profifsharing plans

      Eruo
      E    Yes. List each
           account separately            Type of account:             lnstitution name

                                         40'l(k) or similar plan

                                         Pension plan:

                                         IRA:

                                         Retirement account:

                                         Keogh:

                                         Additional account:

                                         Additional account:




22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples. Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
      companies, or others

      Eruo
      E    Yes                                                 lnstitutron name or individual

                                         Electric:




                                         Heating oil

                                         Security deposit on rental unil

                                         Prepaid rent:



                                         Water:

                                         Rented furniture

                                         Other:                                                                                   q




23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      druo
      E     Yes ....                     lssuer name and descnDtron




 Official Form 106A/8                                                          Schedule A/B: Property                                   page 6
            Case 19-13906-JNP                                 Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                Desc Main
                                                                            Document      Page 32 of 59
 Debtor    1       Michael                          Berkowitz                                             Case number   t,r
                                      Middle Name               Last Name




24.   lnterests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
      26 U.S.c. SS 530(bX1), 52eA(b), and 529(b)(1).

      Oruo
      D    ves                                 Institution name and description. Separatelyfile the records of any interests.ll U.S.C.    S 521(c)




25.Trusts, equitable orfuture interests in property (otherthan anything listed in line 1), and rights or powers
      exercisable for your benefit
      El   ruo

      O    Yes. Give soecific
           information aboul them        ..




26. Patents,      copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Inlernet domain names, websites, proceeds from royallies and licensing agreements
      El ruo
      Q Yes. Give sDecific
           informafion aboul them


27. Licenses,       franchises, and other general intangibles
      Examples. Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      El   ruo

      Q    Yes. Give soecific
           information about them        ...




Monoy or property owod to you?                                                                                                                       Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deducl secured
                                                                                                                                                     claims or exemptions.

28.   Tax refunds owed to you
      Ono
      E Yes. Give specific informatron                                                                                        Federal
                  about lhem, including whether
                  you already filed the returns                                                                               State:
                  and the tax years. ..................
                                                                                                                              LOCat:




29. Family       support
      Examples. Past due or lump sum alimony spousal support, child support, maintenance, divorce settlement, property settlement

      Druo
      ?l   Ves. Give specific information............     .

                                                               $10,000.00 (from ex-spouse's 401K subject to                   Alimony:               $         1   ,191.66
                                                               ODRO) and $1 ,442.70 in silver from
                                                               divorce settlement (remains unpaid).
                                                                                                                              l/aintenance:          $

                                                               Alimony - $1,191 .66/month.                                    Supporti               $

                                                                                                                              Divorce settlement:    $       11.442.70
                                                                                                                              Property settlement:   $

30. Oth€r  amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits, unpaid loans you made to someone else
      El   No
      D    Yes. Give specific information...............




Official Form '106A/8                                                       Schedule A,/B: Property                                                            page 7
              Case 19-13906-JNP                                       Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                              Desc Main
                                                                                   Document      Page 33 of 59
  Debtor.l lvqqgl                                         Berkowitz                                           Case number   (,r
                         Name         Middle   Name                    Last Name




 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
       El ruo
       E Ves.      Name the insurance company Company                              name:                        Beneficiary:                              Surrenderor refund value
                   of each policy and list its value. ..
                                                                                                                                                          a

                                                                                                                                                          q




 32.   Any interest in property that is due you from someone who has died
       lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled lo receive
       property because someone has died.

       E    t'to
       E    Ves. Give specific information.           .   . ..   ..




 33. Claims        against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
       ZNo
       E    Ves. Describe each claim.


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims
       Q    tto
       E    Yes. Describe each claim




 35.Any financial assets you did not already list

       ?ruo
       D Yes.      Give specific rnformation............



 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here                                                                                                    )            l
                                                                                                                                                                      12,634.36




                    Describe Any Business-Related Property You Own or Have an Interest ln. List any real estate in Part 1.
![|
 37. Do     you own or have any legal or equitabte interest in any business-related property?
       ?l   No.    co to Part 6.
       D    ves. Go to line 38.
                                                                                                                                                      Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                      or exemptions.


 38.   Accounts receivable or commissions you already earned
       ENo
       E Yes. Describe.......'
                                                                                                                                                      s

 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, coprers, fax machines, rugs, telephones, desks, charrs, electronlc devlces

       Eruo
       E    Yes. Describe     .....                                                                                                                   $




  Official Form 106A/8                                                              Schedule A,/B: Property                                                          page 8
               Case 19-13906-JNP                              Doc 1    Filed 02/26/19 Entered 02/26/19 17:02:10                      Desc Main
                                                                      Document      Page 34 of 59
 Oebtor    1
                     Michael                              Berkowitz                             Case number
                       Fist   Name          Middle Name




40.Machinery, fixtures, equipment, supplies you use in business, and tools of yourtrade

      Eruo
      O    Yes. Describe.......



41.   Inventory
      0ruo
      E    ves. Describe..


42.   Interests in partnerships or joint ventures
      ENo
      E    ves. Describe                   Name of entity                                                     7o of ownershrp

                                                                                                                       .h

                                                                                                                       o/o       $

                                                                                                                       %$


43.   Customer lists, mailing lists, or other compilations
      E tto
      E    Ves.Doyourlistsincludepersonallyidentifiableinformation(asdefinedin11U.SC.S101(41A))?
                   Eruo
                   E     Yes. Describe



44.Any business-related property you did not already list
      E
      tto
      E    ves. Give specific                                                                                                        q.

           informatron.........




                                                                                                                                     q


                                                                                                                                     $

                                                                                                                                     $


45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
      for Part 5. write that number here                  .                                                                  t

                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an lnterest ln.
                   lf you own or have an interest in farmland, list it in Part    1.



46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      E!   no. co to Part 7.
      0    Yes. co to line 47.
                                                                                                                                 Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured claims
                                                                                                                                 or exemottons.
47.   Farm animals
      Examples: Livestock, poultry, farm-raised fish

      E    tto
      lJ   Yes..........................




 Official Form 106A/8                                                 Schedule A,/B: Property                                                 page 9
            Case 19-13906-JNP                             Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                              Desc Main
                                                                         Document      Page 35 of 59
 Debtor    1           Michael                        Berkowitz                                             Case number   or
                       Fnst   Name    Middle   Name         Last Name




48.   Crops-either growing or harvested
      O   tto
      E   Yes. Give specific
          information............

49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      ENo
      E   ves    ...




50.   Farm and fishing supplies, chemicals, and feed

      E   rrio

      D   Yes



51.   Any farm- and commorcial fishing-rolated property you did not already list
      ENo
      E   Yes. Give soecific
          informalion


52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
      for Part 6. Write that number here                                                                                                )

@                 Describe All Property You own or Have an Interest in That You Did Not List Above

53. Do    you have other property ofany kind you did not already list?
      Examples: Season tickets, country club membership

      El ruo
      E Yes.    Give soecific
          information. ............




54.Add the dollar value of all of your entries from Part 7. Write that number here                                                      t

@                 List the Totats of Each part of thls Form

55.   Part 1: Total real estate. line 2 ..............                                                                                      )   $       180,297.50

56.   Part 2: Total vehicles. line        5                                                 $   20,242.00

52.   Part 3: Total personal and household items, line                  15                  $    2'950 00

58.   Part 4: Total financial assets, line 36                                               $   12,634.36

59.   Part 5: Total business-related property, line 45                                      $        0.00

60.   Part 6: Total farm- and fishing-related property, line                52              $        0'00

61.   Part 7: Total other property not listed, line          54                            *g        0'00

62.   Totat personat property. Add lines 56 through 61.                 .... ...........    $   35'826'36    Copy personal property total   )   +   g     35,826'36


                                                                                                                                                    $   21 6,   1   23.86
63.Total of all property on Schedule A/8. Add line 55 + line 62..............



 Official Form 1064/8                                                      Schedule A/B: Property                                                          page 10
          Case 19-13906-JNP                     Doc 1              Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                                  Document      Page 36 of 59



  Debror   1            Michael             Berkowitz

  Debtor 2
  (Spouse, if filing)   Ftrst Name           Middle   Name                 r   ast Name


  United States Bankruptcy Court for the: District of New Jersey

  Case number
  (lf known)
                                                                                                                                                    E   Checx if this is an
                                                                                                                                                        amended filing



Official Form 106C
Schedule G: The Property You Glaim as Exempt                                                                                                                      04t16

Be as complete and accurate as possible. lf two married people are flling together, both are equally responsible for supplying correct information.
Using the property you listed on Schedu/e A/B; Propefty (Official Form 1064/8) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Paft 2; Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retlroment funds-may be unlimited in dollar amount. However, if you ctaim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limlted to the applicable statutory amount.


                  tdentafy the Property you Gtaim a$ Exempt
E@
 1. Which set of exemptions are you claiming?                Check one only, even if your spouse is filing with you.
      E    You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. S 522(bX3)
      El   Yo,     claiming federal exemptions. 11 U.S.C. S 522(bX2)
                  "r"

 2.   For any property you list on Schedule A/B that you claim as exempt,                  fill in the information below.

       Brief description of the property and line      on     Current value of the        Amount of the exemption you          claim    Specific laws that allow exemption
       Schedule NB that lists this property                   portion you own
                                                              Copy the value     from     Check only one box for each exemption
                                                              Schedule NB


      0tJfj,,",,"",              Residence                    s   180,297.50 fls 27,628.21                                              S522(d)(1)+ 10%
      ;;;                                                                                 D    toov" ott"i'' rn'r'.r"t vatue, up   to   liquidation costs'
       iiieaut6         ele 1                                                                  any applicable statutory limit


      Brief
      description
                                 vehicre                      e   0.00                    Ds_                                           $522(d)(2)-loan exceeds
                                                                                                                                        value
      Line from                  ?   -l
                                                                                          V    rcoy" of fair market value. uo      to
      Scneoute /vb.                                                                            any applicable statutory limit


      |lr$rio.on: Misc.furnishings                            s1,150.00                   f,s       1,150.00                            s522(dX3)
      Line from                                                                           fl   t   ooz of fair market value,
                                                                                                                           up ro
      Schedule          NB.      6                                                             any applicable statutory Iimit


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4101119 and every 3 years after that for cases filed on or after the date of adjustment.)

      d    r.ro

      Q    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed thts case?
           DNo
           O Yes

Official Form '106C                                           Schedule C: The Property You Claim as Exempt                                                   page 1 of 2
       Case 19-13906-JNP                                Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                     Desc Main
                                                                       Document      Page 37 of 59
                 Michael                              Berkowitz                                              Case number   pr
               Firsl   Name             Mrddle Name        Last Name




              Additional Page
@
      Brief description of the property and line                   Current value of the    Amount of the exemption you          claim    Specific laws that allow exemption
      on Schedu/e y'.iBthat li6ts this property                    portion you own
                                                                   Copy the value   from   Check only one box for each exemption
                                                                   Schedule NB

     Brief
     description.
                              Misc. electronics                        $       550.00      Ef   s         550.00                        s522(dX3)

     Line from                                                                             O    t OOX of farr market value, up to

     Schedule    NB                                                                             any applicable statutory limit

     Brief
     description.             Misc collectibles                    $           250.00 [f        s         250.00                        s522(d)(3)

     Line from                                                                             C    t ooZ of fair market value, up to
                              8                                                                 any applicable statutory limit
     Schedule NB.


     Brief
     description:
                              Misc. hobbv equipmt                              350.00      d    $         350.00                        s522(d)(3)
     Line from                I                                                            E    t OOY" of fair market value, up to
     Schedule NB.                                                                               any applicable statutory limit


     Brief
     description:
                              Misc. clothinq                                   450.00      d    $         4s0.00                        s522(dX3)
     Line from
                              't1                                                          fl   t ooY" offair market value, up lo
     Schedule NB.                                                                               any applicable statutory limit

     Brief
                              Familv pets                                           0.00   Ds         0.00                              s522(dX3)
     description:
     Line from                .,|
                                    ?
                                                                                           6 rcOU of market value, up to
                                                                                                    fair
     Schedule    NB                                                                             any applicable statutory limit


     Brief
     description:
                              Misc. tools                                      200.00      d    $         200.00                        s522(d)(3)
     Line from                14
                                                                                           E    t OO7o offair market value, up to
     Schedule NB.                                                                               any applicable statutory limit


     Brief                                                                   1 oqc    ol
     description.
                              Financial assets                                             d    $     1,953.91                          s522(dX3)

     Line from                17                                                           fl   t oOY" of fair markel vatue, up lo

     Schedule NB.                                                                               any applicable statutory limit

     Brief
     description:
                              Alimonv                                        1,191.66      d$         1,191.66                          s522(d)(10)(D)

     Line from                                                                             fl   t OOzt" of fair market value, up to
     Schedule    NB           29                                                                any applicable statutory limit


     Brief                                                                                                                              s522(d)(12)
     description:
                              QDRO 401K Settlmt                            10,000.00       d    $   10,000.00
     Line from                                                                             D    t oo% of fair markel value, up to
                              ZV
     Schedule NB:                                                                               any applicable statutory limit


     Brief
     description:
                              Silver (Divorce)                               1,442.70      d    $     1   ,442.70                       s522(dX3)

     Line from                29                                                           E    t ooZ of fair market value, up to

     Schedule NB;                                                                               any applicable statutory limit

     Brief
     description:                                                                          Ds_
     Line from                                                                             D    t OOZ of fair market value, up to

     Schedule NB.                                                                               any applicable statutory limit


     Brief
     description:                                                                          trs_
     Line from                                                                             E    t OOZ of fair market value, up to
     Schedule NB:                                                                               any applicable statutory limit



Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                            page2 of 2
                     Case 19-13906-JNP                               Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                             Desc Main
                                                                                    Document      Page 38 of 59



         Debror      1     Michael                            Berkowitz
                                                               Mrddle   Name                    Lasl Nam€

         Debtor 2
         (Spous€, if frling) Fisr Name                         Middle   Name                    Last Natrre


         United States Bankruptcy Court for the: District of New Jersey

         Case number
         (lf known)
                                                                                                                                                                            E   Check if this is an
                                                                                                                                                                                amended filing


         Official Form 106D
         schedule D: Greditors who Have Glaims secured by property                                                                                                                               12t15
         Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
         information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On thi top of any
         additional pages, write your name and case number (if known).

     1.       Do any creditors have claims secured by                     your property?
              0 No. Check this box and submit this form lo the court with your other schedules You have nothing else to report on this form.
              d y... Fill in all of the information below.

 EEEE                    ti"t Al s"crr"d           ct"t-t                                                                                        ,                                                        ,,
                                                                                                                                            Column A                 Column B            Column C
     2. Listall securedclaims. lfacreditorhasmorethanonesecuredclaim, listthecreditorseparately Amountofctatm
        foreachclaim. lfmorethanonecreditorhasaparticularclaim,
                                                                                                              Valueofcollateral Unsecured
                                                                                                   listtheothercreditorsinPart2.            0"""0"0r"""              thatouppor6this     portion
              As much as possible, list the claims in alphabetical order according to the creditor's                      name.             value of   coltateral.   claim               tf anv
 I t
 L- 4l         Nationstar Mortgage,                LLC                    Describe the property that secures the claim:                     s     152,669.29         $   180,297.50 $27,628.21
              Creditor's Name

               P.O. Box 650783                                           Residence

                                                                         As of the date you file, the claim is: Check att that      appty
                                                                          E    Contingent
               Dallas                        TX             75265         g    Unliquidated
              Crty                           State      ZIP Code
                                                                          D    Di.put"o
         Who owes the debt? Check one.                                    Nature of lien. Check all that apply.
          (     Debtor 1 onty                                             (    An            you made (such as mortgage or secured
          E     Debtor2 only                                                   car "gr""r"nt
                                                                                   loan)
          D     Duotor 1 and Debtor 2 only                                D    St"trtory lien (such as tax lien, mechanic's lien)
,         O     AtleastoneofthedebtoBandanother                           D    Judgment lien from a lawsuit
                                                                          D    Other (including a right to offser)
         B      Cnecl if this claim relates to          a
                community debt
         Date debtwas           incurred   lllxl    !   A- tL            Last4digitsofaccountnumber                  2 6 4          2
|
tg^ ^l         Ford Credit                                               Describe the property that secures the claim:                      s        39,756.26       $    20,342.00    e           0.00
              Credilois Name
               P.O. Box 220564                                           2017 Ford Explorer

                                                                         As of the date you file, the claim is: Check all that apply

               ri.,'*re
              cjty                          srate       ztP   code
                                                                         P:il::il.
                                                                         B     Disputed
         Who owes the debt? Check            one.                        Nature of lien. Check all that apply.
         ( Debtor t only                    (                                  An              you made (such as mortgage or secured
         E Debtor2only                                                             "gr""r"nt
                                                                               carroan;
         E Debtor 1 and Debtor 2 only       D                                  St"trtory lien (such as tax lien, mechanic's lien)
         fl Aleastoneofthedebtorsandanother D                                  Judgmentlienfromalawsuit
                                                                         o     other(includingarighttooffset)
         fl     crrecr ifthis craim      reratesto"
                community debt

i'....
         .o:tg-"*P1g* il9:fed              4*ll-L-.1 /                   Last4.disits of account nu1.g91--11
                                                                                                                       -9 0         0
              Add the dollar value of your entries in Column A on this page. Write that number here:

     Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of   l
          Case 19-13906-JNP                           Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                         Desc Main
                                                                    Document      Page 39 of 59


 Debtor     1
                      Michael                    Berkowitz
                       Firsl   Name              Middle    Name                Lasi Name

 Debtor 2
 (Spouse, if tillng) Flrsl     Name              [4iddle   Name                Last Name


 United States Bankruptcy Court for      the: District of New Jersey
                                                                                                                                                      E   Cneck if this is an
 Case number
 ilf knNn)
                                                                                                                                                          amended filing


Official Form 106E/F
Schedule E/F: Greditors Who Have Unsecured Glaims                                                                                                                     '12115

Be as complete and accurate as possible. Use Part 1     for creditors with PRIORITY claims and Paft 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim" Also list executory contracts on Schedure
NB: Propefty lOfficial Form 106A/8) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedu/e D: Creditors Who Have C/aims Secured by Propedy.lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).


l!l@               Last AIt      of your pRtoRtry unsecured claims
     Do any creditors have priority unsecured claims against you?
     E    No.      co to Part     2.
     E    ves.
2.   Llst all of your priority uneecurod claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
     each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
     nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. lf you have more than two priority
     unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total   claim Priority     Nonpriority
                                                                                                                                                     amount       amount

                                                                     Last 4 digits of account number
      Priority Credrtor's Name

                                                                     When was the debt incurred?


                                                                     As of the date you file, the claim is: Check    all that apply

      City                               State    ZIP Code
                                                                     0    Contlngent
                                                                     E    Unliquidated
      Who incurred the debt? Check one.                              fl   Disputed
       fJ       Debtor 1 only
       E Debtor2 only                                                Type of PRIORITY unsecured claim:
       E D"bto|I and Debtor 2 only                                   E    Domestic support oblrgatrons
       E At least one of the debtors and another                     E    Ta"es and certain olher debts you owe the government
       O CnecX if this claim is for a community              debt    D    Claims for death or personal inlury while you were
       ls the claim subject to offset?                                    intoxicated

       D tto                                                         E    Otner. Specity
       E        ve.

       Priority Creditor's Name
                                                                     Last 4 digits of account number                                   $_           $_           $_
                                                                     When was the debt incurred?

                                                                     As of the date you file, the claim is: Check     all that apply

                                                                     E    Contingent
       City                              Stale    llP      Code      fl   unliquidated

      Who incurred the debt? Check one.                              O    Disputed

       E Debtor 1 only                                               Type of PRIORITY unsecured claim:
       D Debtor2 only                                                E    Domestrc support obligations
       E oebtor 1 and Debtor 2 only
       fl At least one of the debtors and another                    E    Tares and certain other debts you owe the government
                                                                     fl   Claims for death or personal injury while you were
       B Chect if this claim is for a community              debl         intoxicated
       ls the claim subject to offset?                               fJ   otirer. Specify
       Dto
       E ves

Official Form "106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1   of 10
              Case 19-13906-JNP                          Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                                        Document      Page 40 of 59
 Debtor   1         Michael
                                              Name
                                                      Berkowitz                                            Case number    (//
                           Name      Middle                 Lasl Name




l@|              Lirt all of Your NoNPRtoRtrY unsecured ctaims
 3.   Do any creditors have          nonpriority unsecured claims against you?
      Q    ruo. Vou have nothing to report in this part. Submit this form to the court with your other schedules.
      El v".
 4. Llstall ofyournonpriorityunsecuredclaimsinthealphabetical orderofthecreditorwhoholdseachclaim. lfacreditorhasmorethanone
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 'l . lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
      cfaims fill out the Continuation Paoe of Paft2.

                                                                                                                                                                   Total claim

       American Honda Finance                                                         Last4digitsofaccountnumber                7 5 I          4
       Nonpriority Creditor's Name                                                                                                                             $                 0.00
                                                                                      When was the debt      incurred?          O3l1 1 12014
       20'l Little Falls Drive
       Number Street
       Wilmington                                         DE             19808
       c'tr                                               srare         Zrp   cooe-   As of the date you file, the claim is: Check      all that apply

                                                                                      E    Contingent
       Who incurred the debt? Check             one.                                  d    Untiquioated
       Vl     Debtor 1 onty                                                           fJ   Disputed
        D Debtor2 onty
        D Debtor'1 and Debtor2 only                                                   Type of NONPRIORITY unsecured claim:
        E At least one of the debtors and another                                     D    Student loans

       E      Cnect if this claim is for a community debt                             E    Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       ls the claim subject to offset?                                                B    D.bts to pension or profit-sharing plans, and other similar debts
       Eruo                                                                           d    o,n", spec'rv Auto lnstallment
        D     ves

       Avant                                                                          Last4digitsofaccountnumber 1                   1 B B                     $                 0'00
       Nonpnor(y Oredrlor's Name                                                      when was the debt      incurred?          10115/2015
       222 N LaSalle Street, Suite 1700
       Number               Slreel

                                                          lL                          As of the date you file, the claim is: Check all that apply
       ChiCagO                                                           60601
       City                                               Srate         ZIP Code
                                                                                      |J uontngent
       Who incurred the debt? check             one                                   f    Unliquidated

       El     Debtor   t   onty
                                                                                      E    Disprted

        D Debtor2 only
                                                                                      Type of NONPRIORITY unsecured claim:
        Q Deotor 1 and Debtor 2 only
        E At least one of the debtors and another                                     E    student toans
                                                                                      E    Obligations arising out of a separalion agreement or divorce
        D     Cnecf if this claim is for a community debt                                  that you did not report as priority claims
       ls the claim subject to offset?                                                E    D"btt to pension or profit-sharing plans, and other similar debts

       Eruo                                                                           d    o,tur speciry Unsecured installment account

        ?-':-'
          Avant
        Nonpnority Creditor's Name
                                                                                      Last4digitsofaccountnumber                2_ill                          $         12,204.00
                                                                                      when was the debt      incurred? 02/23/2017
          222 N LaSalle Street, Suite 1700

          Chicago                                         tL             60601
                                                           _Asofthedateyoufi|e'thec|aimis:Checka||thatapp|y
       City                                               state   zlP code
                                                                                      fl   Contingent
       Who incurred the debt? Check one.
                                                                                      d    unliquidared
          I D"btort onty                                                              D    Disputed
          E Debtor2 only
          O DubtolI and Debtor 2 only                                                 Type of NONPRIORITY unsecured claim:
          E At least one of the debtors and another
                                                                                      E    Student loans
          E   Check if this claim is for a community debl                             E    Obligations arising out of a separation aqreement or divorce
                                                                                           that you did not report as priority claims
        ls the claim subject to offset?
                                                                                      D    OeOts to pension or profilsharing plans, and other similar debts
          Fruo                                                                        (    otn"r..   specity Unsecured installment account
          D   Y"s



Ofiicial Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                        page2- ot 1 0
                  Case 19-13906-JNP                    Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                           Desc Main
                                                                      Document      Page 41 of 59
    Debtor    1
                        Michael                     Berkowitz                                                    Case number
                                                          Lasl Name



                        Your NONPRIORITY Unsecured Claams                  -     Continuation Page


    After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                           Total claim


V7
r--J                                                                                        Last 4 digits of account number         1888
           Barclavs Bank of Delaware                                                                                                                                 $ 2,190.00
                                                                                            When was the debt incurred?            0211112017
           P.O. Box 8803

           Wilmington                                   DE              19899
                                                                                            As of the date you file, the claim is: Check     all that apply.

          c                                                                                 D    Contingent
                                                                                            f    Unliquidated
          Who incurred the debt? Check one.
                                                                                            E    Disputed
          p Debtort only
          O Debtor2 only                                                                    Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                                                      E    Student loans
          D At least one of the debtors and another                                         D    Obligations arising out of a separation agreemenl or divorce that
                                                                                                 you drd not report as pnority claims
          E        Check if this claim is for a community debt
                                                                                            E    D.bt. to pension or profilsharing plans, and other similar debts
          ls the claim subject to offset?                                                   d    otn"r soecitv Ct'€dit caro
          druo
          O v".


14   5l
          Borrowers First, Inc                                                              Last 4 digits of account     number     0 0 2             1                          0.00
-         Nonofloritv Credilor's Name
                                                                                            when was the debt       ancurred? 06/01/2016
           1      14 Lost Creek Blvd, Suite 220
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          Austin                                        TX             78746
          Crly                                         State          ZIP Code              D    Contingent
                                                                                            q    Unliquidated
          Who incurred the debt? Check one.
                                                                                            fl   Disputed
          I Debtolt onty
          D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim.
          D Debtor 1 and Debtor 2 only                                                      E    Student loans
          E At least one of the debtors and another                                         D    Obtlgatlons arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          E       Cnect if this claim is for a community debi
                                                                                            fl   Debts to pension or profilshanng plans, and other simalar debts
          ls the claim subject to offset?                                                   d    otn", specrry Unsecured installment account
          druo
          E       Yus



Ed                                                                                         Last 4 digits of account      number 2         1 7        7
                                                                                                                                                                             0.00
          CapitalOne Bank
          Nonprionty Creditor's Name
                                                                                           When was the debt        incurred?      11 10612007
          P.O. Box 30281
          Number
                                                                                           As of the date you file, the claim is: Check      all that apply.
          Salt Lake City                                UT             841 30
          Crty                                                        ZIP Code              D    contingent
                                                                                            g    Unliquidated
          Who incurred the debt? Checr       one.
                                                                                            D    Disputeo
          P Debtor t only
          D Debtor2 only                                                                   Type of NONPRIORITY unsecured claim:
          fl D.btor 1 and Debtor 2 only                                                    E     Student loans
          E At least one of the debtors and another                                        E     Obligatrons arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          E       Cnect if this claim is for a community debt
                                                                                           D OeOt. to pension or profit-sharing    plans, and other similar debts
          ls the claim subject to offset?                                                  ?f otn"r sp"",ty Cr€dit cdrd
          Uruo
          D       Yu.




Official Form '106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page   3-   ot 1 0
              Case 19-13906-JNP                              Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                                           Document      Page 42 of 59
 Debtor   1
                      Michael                            Berkowitz                                                Case number   0t
                      Flst   Nam€      fi,'liddle Nam€         Lasl Name




                   Your NONPRIORITY Unsecured GIaams                           -   Continuation Page


    After listing any entrios on this page, number them beginning with 4.4, followed by 4.5, and so torth.                                                             Total claim


                                                                                                                                                       ,|
                                                                                              Last 4 digits of account    number     2     O 8                         $   4,770.0O
          Capital One Bank
        Nonpriority Creditor's Name
                                                                                              when was the debt       incurred? 09/27/2015
        P.O. Box 30281
        Number Street
                                                                                              As of the date you file, the claim is: Check all that apply.
        Salt Lake City                                       UT             841 30
        City                                                               ZIP Code           E    Contingent
                                                                                              f    Unliquidated
        Who incurred the debt? Check one.                                                     E    Disput"o
         I Debtor 1 only
         D Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
         O Debtor 1 and Debtor 2 only                                                         E    Student loans
         D At least one of the debtors and another                                            E    Obligations arising out of a separalion agreement or divore that
                                                                                                   you did not report as priority claims
         D      Cnect if this claim is for a community debt
                                                                                              tr   Debts to pension or profit-sharing plans, and other similar debts
        ls the claim subject to offset?                                                       d    other soecifv    Credit card
         druo
         E      ves



EI        Continental               Fina@                                                     Last 4 digits of account number        0 0 57                            s    619.00
-        Nononontv Credrtor's Name
                                                                                              When was the debt incurred?            0212212015
        4550 New Linden Hill Rd, Suite 400
        Number Street
                                                                                              As of the date you file, the claim is: Check all that apply
          Wilmington                                         DE             19808
        City                                                 Slate         ZIP Code           E    Contingent
                                                                                              A    Unliquidated
        Who incurred the debt? Check one                                                      E    Dtsputed
         I      Debtor   t   only
         D      Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim.
         E      Debtor 1 and Debtor 2 only                                                    E    Student loans
         O      At least one of the debtors and another                                       E    Obligations arising out of a separation agreement or divorc thal
                                                                                                   you did not report as pnonty clarms
         D      Cnecf if this claim is for a community debt
                                                                                              fl   D.bt. to pension or profit-sharing plans, and other similar debts
         ls the claim subject to offset?                                                      Ef otn",    specity   Credit card
         druo
         O      Y".


t4€l                                                                                                                                                                   $11,974.62
                                                                                              Last 4 digiG of account     number 5         5 0         J
          CKS Financial
         Nonpriority Creditor's Name
                                                                                              When was the debt       incurred? 08/2312017
         P.O. Box 2856
         Number Slreet
                                                                                              As of the date you file, the claim is: check     all that apply.
         Chesapeake                                          VA             23327
         Crty                                                                                 E    Contingent
                                                                                              I    untiquidatea
         Who incurred the debt? Check one.                                                    0    Disputea

         I Debtor t only
         D Deutor2 only                                                                       Type of NONPRIORITY unsecured claim:
         E Debtor 1 and Debtor 2 only                                                         D    Student loans
         0 At least one of the debtors and another                                            C    Obligations arising outof a separation agreementordivore that
                                                                                                   you did not report as pnonty clarms
          E     Check if this claim is for a community debt
                                                                                              E    Debts to pension or profilsharing plans, and other similar debts
         ls the claim subject to offset?                                                      fl   otn", specity Collection account
          Ero
          O     ves




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                     pagel    ot 1 0
              Case 19-13906-JNP                         Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                                            Desc Main
                                                                      Document      Page 43 of 59
 Debtor   1                                                                                                     Case number   pr   rno*n;
                                                          Last Name



                    Your NONPRIORITY Unsecured Glaims                      -     Continuataon Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                             Total claim



                                                                                            Last4digitsofaccountnumber                      4 2 8     9
       Fein, Such, Kahn & Shepard, P.C.                                                                                                                              s   8,806.42
       Nonprior(y Credrtor's Name
                                                                                            when was        the debt incurred? 01/19/2007
       7 Century Drive, Suite 201
       Number Street
                                                                                            As of the date you file, the claim is: Check all that apply.
       Parsippany                                       NJ             07054
       City                                                           ZIP Code              E    Contingent
                                                                                            E    Unliquidated
       Who incurred the debt? Checr          one
                                                                                            C    Disputed
       p Debtolt only
       D Debtor2 only                                                                       Type of NONPRIORITY unsecured claim:
       Q D"btor l and Debtor2 only                                                          E    Student loans
       E At least one of the debtors and another                                            E    OOligations arising out of a separation agreement or divorce lhal
                                                                                                 you did not report as priority claims
       O      Ctrect if this claim is for a community debt
                                                                                            D    Oents to pension or profilsharjng plans, and othersimilardebts
       ls the claim subject to offset?                                                      d    otner spec,ry    Judomenl
       dro
       E      ves




       Frances M. Odza                                                                      Last 4 digits of account number                                          s 16,256.00
       Nonpriority Creditor's Name
                                                                                            when was the debt      incurred? 1211812014
       8400 Bustleton Avenue. Suite 301
       Number Street
                                                                                            As of the date you file, the claim is: Check
       Philadelphia                                     PA             '19152                                                                  all that apply

       City                                             State         ZIP Code              C    Contingent
                                                                                            A    Unliquidated
      Who incurred the debt? Check one.                                                     E    Disputed
       I      Deutolt   onty
       E      Deutor2 onty                                                                 Type of NONPRIORITY unsecured claim'
       fl     Debtoll and Debtor 2 only
                                                                                            D    Student loans
       E      At least one of the debtors and another
                                                                                            D    OOtigations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
       O      Cnect if this claim is for a community debt
                                                                                            fl   D"Ut. to pension or profilsharing plans, and other similar debts
       ls the claim subject to offset?                                                      d    otner. Specity   Leoal services
       dro
       D v".

                                                                                            Last 4 digits of account    number 0              0 2 6
                                                                                                                                                                     $       0.00
       Genesis/Feb-Retail
      Nonpriority Creditois Name
                                                                                           when was the debt       incurred? 02/28/2015
      P.O. Box 4499
      Number Street
                                                                                           As of the date you file, the claim is: Check all that apply.
      Beaverton                                         OR             97076
      City                                                            ZIP Code              E    contingent
                                                                                            f    Unliquidated
      Who incurred the debt? Check one.                                                     0    Disouted
       S Debtor 1 onty
       E Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
       D Debtor'l and Debtor2 only                                                          E    Student loans
       D At least one of the debtors and another                                            E    Obligations arising outof a separation agreementordivorce that
                                                                                                 you did not report as priority claims
       fl     Check if this claim is for a community debt
                                                                                            E    O"Ot. to pension or profit-sharing plans, and other similar debts
      ls the claim subject to offset?                                                       !l   otn"r speciry Credit card
       dro
       E      Y""




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                         pageL ot 'l 0
              Case 19-13906-JNP                          Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                          Desc Main
                                                                        Document      Page 44 of 59
 Debtor   1
                    Michael                           Berkowitz                                                   Case number r,lr,o"n
                     First Name      [,,liddle Name         Lasl Name




                    Your NONPRIORITY Unsecured Glaims                        -     Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                 Total claim


EI
lJ     Kings Grant Open Space Assoc c/o Gary J. Zangerle                                      Last 4 digits of account number            8450                          $   1   ,172.63
       Nonpriority Creditor's Name
                                                                                              When was the debt incurred?                12t12t2018
       505 South Lenola Rd, Suite 201
       Number Street
                                                                                              As of the date you file, the claim is: Check     all that apply
       Moorestown                     NJ                                 08057
      Crly                                                              ZIP Code              D    Contingent
                                                                                              A    Unliquidated
      Who incurred the debt? Check one.                                                       E    Disputeo
       I      Debtort only
       E      Debtor2 only                                                                    Type of NONPRIORITY unsecured claim:
       E      Deutor'1 and Debtor2 only
                                                                                              E    Student loans
       E      At least one of the debtors and another
                                                                                              E    Obligations arising out of a separation agreement or divorce that
                                                                                                   you dld not reporl as priority claims
       Q      Check if this claim is for a community debt
                                                                                              D    Debts to pension or profilsharing plans, and other similardebts
      ls the claim subject to offset?                                                         U    otn", specirv JudQrnent
       duo
       fl     v"t



       Kohls Department Store                                                                 Last4digitsofaccountnumber                 7 5     3                     E       425.00
      Nonpriorily Credilor's Name
                                                                                              when was the debt       incurred? 08/26/2017
       P.O. Box 31 15
      Number
                                                                                              As of the date you file, the claim is: Check     all that apply
       Milwaukee                                          WI             5320.1
      City                                                                                    fl   Contingent
                                                                                              q    Unliquidated
      Who incurred the debt? Check one.                                                       D    Disputed
      I       D"utor   t   onty
      E       Debtor 2 only                                                                  Type of NONPRIORITY unsecured clarm:
      fl      Debtor 1 and Debtor 2 only
                                                                                              D    Student loans
      E       At least one of the debtors and another
                                                                                              E    Obligations arising out of a separation agreemenl or divorce thal
                                                                                                   you did not report as priority claams
      E       Cnect if this claim is for a community debt
                                                                                              D    DeUts to pension or profilsharing plans, and other similar debts
      ls the claim subject to offset?                                                         d    otn", speciry Charqe account
      druo
      E       ves


                                                                                                                                                                       $ 4,770.55
       Lyons, Doughty & Veldhuis, P.C.                                                        Last 4 digits of account number            4289
      Nonpnority Creditor's Name
                                                                                             When was the debt incurred?             01/07/2019
       136 Gaither Drive, Suite 100
      Number
                                                                                             As of the date you file, the claim is: Check      all that apply
       Mt. Laurel                                         NJ             08054
      Crty                                               State          ZIP Code              E    Contingent
                                                                                              I    unliquioated
      Who incurred the debt? Check one.                                                       D    Disputed
      I       Debtor   t   only
      Q       Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      Q       D"btor   1 and Debtor 2 only
                                                                                              O    Student loans
      E       At least one of the debtors and another
                                                                                              E    Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
      E       Check if this claim is for a community debt
                                                                                              f]   D"btr to pension or profilsharing plans, and other similar debts
      ls the claim subject to offset?                                                         fl   otner. Specity   Collection account
      druo
      O       Yu"




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       pageL ot 1 0
              Case 19-13906-JNP                                     Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                        Desc Main
                                                                                   Document      Page 45 of 59
 Debtor   1
                       Michael                                   Berkowitz
                         Firsl Nam€         lViddle Nam€               Last Name




                      Your NONPRIORITY Unsecured Claims                                -   Gontinuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Total claim


m.t
|                                                                                                     Last 4 digits of account number         1267
    '   MD Coooer Univ Health
                   Nm
        Nonprcil), Credno''s
                                                                                                                                                                               $   1   ,153.33
                                                                                                      When was the debt incurred?           12/11/2017
        One Coooer Plaza
        Number                  Streel
                                                                                                      As of the date you file, the claim is: Check     all that apply.
          Camden                                                     NJ             081 03
        City                                                                       ZIP Code           E    Contingent
                                                                                                      6    Unliquidated
        Who incurred the debt? Check one.                                                             fl   Disprted
        p      Debtor 1 only
        E      Debtor 2 only                                                                          Type of NONPRIORITY unsecured claim;
        D      Debtor 1 and Debtor 2 only                                                             E    Student loans
        O      At least one of the debtors and another                                                B    Ouligations arising out of a separation agreemenl or divorce that
                                                                                                           you did not report as priority claims
        E      Ctrect if this claim is for a community debt
                                                                                                      B    oeuts to pension or profilsharing plans, and other similar debls
        ls the claim subject to offset?                                                               d    otn",            Medical bill
        druo
        fl     Y""



                                                                                                      Last 4 digits of account    number     I     4 0 2                       o   1,519.00
          Merrick Bank
        Nonpfl   ofl   ly Credrlor's Name
                                                                                                      When was the debt      incurred? 1012612014
        10705 S. Jordan Gatewav. Suite 200
        Numb€r Street
                                                                                                      As of the date you file, the claim is: Check     all that apply.
        South Jordan                 UT                                             84095
        City                                                                       ZIP Code           E    Contingent
                                                                                                      g    Unliquidated
        Who incurred the debt? Check one.                                                             E    Disputed
        I      Debtor      t   onty
        E      Debtor2 only                                                                           Type of NONPRIORITY unsecured claim:
        E      Deutor 1 and Debtor 2 only                                                             E    Student loans
        O      At least one of the debtors and another                                                E    Obligations arising outof a separation agreement ordivorc that
                                                                                                           you did not report as pnonty clarms
        E      Check if this claim is for a community debt
                                                                                                      E    Debts to pension or profilsharing plans, and other similar debts
        ls the claim subject to offset?                                                               d    o,n.r. specirv   Credit card
        Ef     r'ro
        E      ves


                                                                                                                                                                               $   1,476.00
          Midland Funding, LLC                                                                        Last4 digits of account number          8 0 2            B
        Nonpriority Creditor's Name
                                                                                                      when was the ctebt     incurred? 05/30/2018
        2365 Northside Drive, Suite 300
                                                                                                      As of the date you file, the claim is: Check     all that apply.
          San          Diego                                         CA             92108
        City                                                         State         ZIP Code           O    contingent
                                                                                                      E    Unliquidated
        Who incurred the debt? check                       one                                        E    oisputed
        p      Debtolt         only
        E      Debtor2 only                                                                           Type of NONPRIORITY unsecured claim:
        E      Debtor 1 and Debtor 2 only                                                             D    Student loans
        E      At least one of the debtors and anotner
                                                                                                      Q    Obligations arising out of a separation agreement or divorce that
                                                                                                           you did not report as priority claims
        D      Cnect if this claim is for a community debt
                                                                                                      E    Dubt" to pension or profilsharing plans, and other similar debts
        ls the claim subject to offset?                                                               [f   otn., speciiy Collection account
        Uruo
        E      ves




Official Form '106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    pagel      ot 1 0
             Case 19-13906-JNP                          Doc 1    Filed 02/26/19 Entered 02/26/19 17:02:10                                            Desc Main
                                                                Document      Page 46 of 59
  Debtor'1          Michael                         Berkowitz                                              Case number   (//rnown)
                     First Name       Middle Name




                    Your NONPRIORITY Unsecured CIaams                -     Continuation page


  After llsting any entries on this page, number them beginning wlth 4.4, followed by 4.5, and so forth.                                                       Total claim



                                                                                                                   number            2 6 4      z
        Pacific Union Financial
        Nonpriority Creditor's Name
                                                                                      Last 4 digits of account
                                                                                                                                                               E       0.00
                                                                                      when was        the debt incurred? 11/2112016
        4000 Horizon Way
        Number Street
        lrving                                          TX        75063
                                                                                      As of the date you file, the claim is: Check      all that appty.

                                                                                      E    Contingent
                                                                                      U    untiquidateo
        Who incurred the debt? Check one.
                                                                                      D    Disputed
        p Debtort onty
        Q Debtor2 onty                                                                Type of NONPRIORITY unsecured claim.
        D D"btor 1 and Debtor 2 only                                                  O    Student loans
        E At least one of the debtors and another                                     D    OOtigations arising out of a separatton agreement or drvorce that
                                                                                           you did not report as priority claims
        O     Chect if this claim is for a community debt
                                                                                      tr   Debts to pension or profafsharing plans, and other similar debts
        ls the claim subject to offset?                                               d    Orher Specify     MOftqaqe
        druo
        D     yes




        Pressler, Felt & Warshaw LLP                                                  Last4digitsofaccountnumber                 2     1 8 4                   s   1,532.76
       Nonpriority Credrlor's Name

       7 Entin Road
                                                                                      when was the debt       incurred? 05/30/2018
       Number Street
                                                                                      As of the date you file, the claim is: Check all that appty.
       Parsippany                                       NJ        07054
       City                                                     ZIP Code              E    Contingent
                                                                                      U    Unliquioateo
       Who incurred the debt? Check one.
                                                                                      D    Disputed
       I      Debtor   t   onty
       D      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim.
       D      O.Otor 1 and Debtor 2 only
                                                                                      Q    Student loans
       O      At 1"".t on" of the debtors and another
                                                                                      E    Obligations arising out of a separation agreement or divorce thal
                                                                                           you did not report as priority claims
       E      Cnect if this claim is for a community debt
                                                                                      E    DeUtr to pension or profifsharing plans, and other similar debts
       ls the claim subject to offset?                                                Ef   otn",. Specirv   Collgction account
       dro
       E      Yes



r-     SW Credit Systems
       Nonpriority Creditor's Name
                                                                                     Last 4 digits of account number             5I67                          s    540.00


                                                                                     When was the debt incurred?                05118t2016
       4120 International Parkwav. Suite 1100
                                                                                     As of the date you file, the claim is: Check       all that apply.
       Carrollton                                       TX       75007
       City                                                     ZIP Cods             D     Contingent
                                                                                     g     Unliquidated
       Who incurred the debt? Check one.                                             E     Disputed
       p      Debtor   t   only
       B      Debtor2 only                                                           Type of NONPRIORITY unsecured claim:
       0      Debtor 1 and Debtor 2 only
                                                                                     fl    student toans
       D      At least one of the debtors and another
                                                                                     D     OUtigations arising out of a separation agreemenl or divorce that
                                                                                           you did not report as priority claims
       E      Ctrect if this claim is for a community debt
                                                                                     C]    Debts to pension or profilsharing plans, and other similar debts
       ls the claim subject to offset?                                               7l    other Specity    Collection account
       dNo
       Q ves



Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    .".o8 .r 10
               Case 19-13906-JNP                           Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                            Desc Main
                                                                          Document      Page 47 of 59
  Debtor   1
                      Michael                           Berkowitz                                                    Case number
                       Frct   Name      Middle Name           Lasl Name




                      Your NONPRIORITY Unsecured Glaims                        -     Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                  Total claim



        SvncbAlValmart                                                                          Last 4 digits of account     number     I     0 4         2                          0.00
       Nonpnonty Credrtor's Name
                                                                                                when was        the debt incurred? 04/08/2015
       P.O. Box 965024
       Number Streel
                                                                                                As of the date you file, the claim is: Check all that apply
       Orlando                                              FL              JZt'Yb
       Cily                                                               ZIP Code              tr   Contingent
                                                                                                V    Unliq uidated
       Who incurred the debt? Check one.                                                        o    Disputed
       p Debtor t only
       0 Debtor2 only                                                                           Type of NONPRIORITY unsecured claim.
       O D"btor l and Debtor 2 only                                                             E    Student loans
       D At least one of the debtors and another                                                0    Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priorjty claims
       Q       Check if this claim is for a community debt
                                                                                                E    D.btr to pension or profilsharing plans, and other similar debts
       ls the claim subject to offset?                                                          L4 other. Specrfy Charoe account
       d       r'ro
       E v".


       Verizon Wireless                                                                         Last4digitsofaccountnumberS I                       1 0                  e    1   ,101 .00
       Nonpnonty Credrtor's Name
                                                                                                when was the debt       incurred? 02/28/2014
        P.O. Box 650051
       Number                  Street
                                                                                               As of the date you file, the claim is: Check       all that apply.
        Dallas                                              TX             75265
       City                                                               ZIP Code              D    Contingent
                                                                                                (    Untiquioatea
       Who incurred the debt? Check one.
                                                                                                E    Disputed
       I       Deotor   t     onty
       E       Debtor2 only                                                                    Type of NONPRIORITY unsecured claim:
       fl      D"btor   1 and Debtor 2 only
                                                                                                0    Student loans
       D       At least one of the debtors and another
                                                                                                D    Obligations arising out of a separation agreement or divor€ that
                                                                                                     you did not report as priority claims
       E       Ctrect if this claim is for a community debt
                                                                                                D    OeOts to pension or profilsharang plans, and other similar deDts
       ls the claim subject to offset?                                                          d    other. Specity    Cell ohone
       Ef      ruo

       O v".

                                                                                                                                                                         $_
                                                                                               Last 4 digits of account number
       Nonprionty Creditois Name
                                                                                               When was the debt incurred?

                                                                                               As of the date you file, the claim is: Check       all that apply.

       City                                                               ZIP Code              E    Contingent
                                                                                                B    Unliquidated
      Who incurred the debt? Checr                one
                                                                                                I    Disputed
       O       Debtor   t   only
       D Debtor2 only                                                                          Type of NONPRIORITY unsecured claim:
       D Deotor 1 and Debtor2 only                                                             D     Student loans
       E At least one of the debtors and another                                               0     Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
       E       Check if this claim is for a community debt
                                                                                               D     D"uts to pension or profit-sharing plans, and other similar debts
       ls the claim subject to offset?                                                          E    Other. Specify
       E t'to
       E v""



Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                          page9- ot 10
             Case 19-13906-JNP                  Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                 Desc Main
                                                             Document      Page 48 of 59
Debtor   1      Michael                      Berkowitz                                        Case number (rk,own)
                   Name        Middle Name



               Add the Amounts for Each Type of Unsecured Glaim


 6. Total theamountsofcedaintypesof unsecuredclaims.Thisinformationisforstatistical reportingpurposesonly.23U.S.C.SiSg
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                 6a   Domestic support obligations                               6a.                            0.00
Total claims
from Part 1
                 6b Taxes and certain other debts you owe the
                      government                                                 6b                             0.00

                 6c. Claims for death or personal injury while you were
                      intoxicated                                                6c                            0.00
                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                     6d *s                         0.00


                 6e. Total. Add lines 6a through 6d.                             6e
                                                                                        $                      0.00


                                                                                       Total claim

                 6f. Student loans                                               6f
Total clalms                                                                                                   0.00
from Part 2
                 69. Obligations arising out of a separation agreement
                      or divorce that you did not report as priority
                      claims                                                     6g                            0.00
                 6h. Debts   to pension or profit-sharing plans, and other
                      similar debts                                              6h                            0.00

                 6i. Other. Add   all other nonpriority unsecured claims.
                      Write that amount here.                                    6i. *6                70,510.31


                 6j. Total. Add lines 6f through 6i.                             oJ
                                                                                          $            70,510.31




Official Form "106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page106110
            Case 19-13906-JNP                        Doc 1            Filed 02/26/19 Entered 02/26/19 17:02:10                               Desc Main
                                                                     Document      Page 49 of 59




    Debtor Michael                                 Berkowitz

    Debtor 2
    (Spouse lf filing) Firsl Name                Middle   Name            Last Name


    United States Bankruptcy Court for the: District of New Jersey

    Case number
    {ll knwn)                                                                                                                                 E   Chect< if this is an
                                                                                                                                                  amended filing



Official Form 106G
Schedule G: Executory Gontracts and Unexpired Leases                                                                                                            12t15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 '1.    Do you have any executory contracts or unexpired leases?
        D       No. Cnecf this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        EI V"r.      Fill in all of the informatjon below even if lhe contracls or leases are listed on Schedu/e A/8. Propefty (Official Form 1064/8).

 2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexoired leases.



        Pergon or company with whom you have tho contract or loase                                  State what the contract or lsase is for


2'1      Planet Fitness                                                                      Gym membership
         Name
         225 Route 73
         Number          Street
         Berlin                           NJ              08091
         City                               State         ZIP Code

2   2    weiqht watchers                                                                     Membership
         Name

         230 North Maple Avenue, Suite G1
         Number          Street
         Marlton                          NJ              08053
         City                               State         ZIP Code

2'3       First American                                                                      Home warranty
         Name

         P.O. Box 7248
         Number Street
         Santa       Rosa                 CA              95407
         City                               State         ZIP Code




         Number          Street


         City                               state         zlP code
2.5



         Number          Street


         City                               State         zlP Code


                                                                                                                                                           '1        'l
Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                              page        of
           Case 19-13906-JNP                             Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                 Desc Main
                                                                        Document      Page 50 of 59



  Debror   1        Michael                        Berkowitz
                                                                                Lasl Name

  Debtor 2
  (Spouse, if ftling)   Frrsl   Name                 Middle   Nam€              Last Name


  United States Bankruptcy Court for ther District of New Jersey

  Case number
  (lf known)
                                                                                                                                                  E   Check if this is an
                                                                                                                                                      amended filing

Official Form 106H
Schedule H: Your Godebtors                                                                                                                                      12t15
Godebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible forsupplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and numberthe entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

  1. Doyouhaveanycodebtors?(lfyouarefilingajointcase,donotlisteitherspouseasacodebtor.)
      Vl    ruo

      D    ves
 2. WithinthefastSyears,haveyoulivedinacommunitypropertystateorterritory?(Communitypropertystatesandterritoriesinclude
      Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      D wo. Go to line 3.
      E Ves. Did your spouse, former spouse, or legal equivalent live with you at the time?
        [ruo
        E Yes. In which community slate or territory did you liver                                       Fill in the name and current address of that oerson



                  Name of your spouse, former spouse, or legal equrvalent



                  Number                 Str€et



                  City                                          State                       ZIP Code


 3. InColumnl,listall ofyourcodebtors.Donotincludeyourspouseasacodebtorifyourspouseisfilingwithyou.Listtheperson
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedu/e D (Official Form 106D), Schedu/e E/F lOtlicial Form 106E/F), or Schedule G (Official Form 106G). Use Schedu/e D,
     Schedu/e E/F. or Schedu/e G to fill out Column 2.

        Column      1:    Your codebtor                                                                        Column 2. The creditor to whom you owe the debt

                                                                                                                Check all schedules that apply:


                                                                                                                E    schedute D, tine
                                                                                                                E    schedute E/F, tine
         Number                 Slreet                                                                          D    schedute   c,   tine

         Oty                                                                                 ZIP Code


tr                                                                                                              []   schedule D, tine
                                                                                                                D    schedute E/F, tine
         Number                 Street                                                                          E    schedule G. line

                                                                                             ZIP Code



                                                                                                                0    schedule D, line
                                                                                                                fl   schedute E/F, tine
         Number                 Street                                                                          E    schedute G, tine

         City




Official Form '106H                                                         Schedule H: Your Codebtors                                                 page 1 of   1
          Case 19-13906-JNP                           Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                            Desc Main
                                                                   Document      Page 51 of 59




  Debtor     1
                             Michael               Berkowitz
                                                                             Last Name

  Debtor 2
  (SPouse,       itfiling)   FrstName              Mrddle Name               Lasl Nam€


  Unated States Bankruptcy Court for the      District of New Jersey

  Case number                                                                                                        Check if this is:
  (lf known)
                                                                                                                     B   An amended filing
                                                                                                                     E   A supplement showing postpetition chapter              '13

                                                                                                                         income as of the followino date:
Official Form                     1061                                                                                   MM    / DD/ YYYY
Schedule l: Your lncome                                                                                                                                                't2t15
Be as complete and accurate as possible. lf two marriod people are filing together (Debtor 1 and Oebtor 2), both are equally responsible for
supplylng correct information. lf you are married and not filing jolntly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                         Describe Emptoyment
@
 t.   Fill in your employment
      Informatlon.                                                                 Debtor   1                                        Debtor 2 or non-filing spouss

      lf you have more than one job,
      attach a separate page with
      information about adAitiona,              Employment       status         U    Employed                                        E      Emptoyed
      employers.                                                                D    Not employed                                    E      Not employed
      Include part-time, seasonal, or
      self-employed work.
                                                occupation                    Loan Processor
      occupation may include student
      or homemaker, if it applies.
                                                Employer's       name         Freedom Mortgage

                                                Employer's       address      907 Pleasant ValleV Avenue
                                                                               Number Street                                       Number      Street




                                                                              Mt.    Laurel              NJ          08054
                                                                       city      state                        zlP   code           city                    state   ztP code

                                                How long employed there? 4 yearS                                                     4 VearS


@                       cive      Detaals About Monthty tncome

      Estimate monthly income as of the date you file this form. lf you have nothing to reporl for any line, write g0 in the space. Include your non-filing
      spouse unless you are separated.
      lf you or your non-filing spouse have more than one employer, combine lhe information for all employers for that person on the lines
      below. lf you need more space, attach a separate sheet to this form.

                                                                                                              For Debtor   1        For Debtor 2 or
                                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). lf not paid monthly, calculate what the monthly wage would            be.       2.
                                                                                                          $ 4,gg7.77                  $

 3. Estimate and list monthly overtime pay.                                                         3    +$                        +$
 4. Calculate gross income. Add              line 2 + line 3.
                                                                                                    ^T*r."l
                                                                                                     l-l
Official Form          1061                                               Schedule l: Your lncome                                                                  page   1
                Case 19-13906-JNP                  Doc 1       Filed 02/26/19 Entered 02/26/19 17:02:10                                              Desc Main
                                                              Document      Page 52 of 59

Debtor      1
                       Michael               Berkowitz                                                   Case number     0r




                                                                                                        For Debtor   1        For Debtor 2 or
                                                                                                                              n--on:tiliqg*-s-p*au"s-.e-.-

      Copy line 4 hero..                                                                )+              e      4,937.77

      List all payroll deductions:

       5a. Tax, Medicare, and Social Security deductions                                      5a.               948.34
       5b. Mandatory contributions for retirement plans                                       6h

       5c. Voluntary contributions for retirement plans                                       5c.

       5d. Required repayments of retirement fund loans                                       5d.

       5e. lnsurance                                                                          5e.       s       337.56
       5f.      Domestic support obligations                                                  5f.

       59. Union dues                                                                         59.

       5h. Other deductions. Specify Leoal olan                                               5h.   +$            18.01       +$
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 59 + 5h                         s       1,303.91

       Calculate total monthly take-home pay. Subtract line 6 from line 4.                             s       3,633.86

       List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the total
                monthly net income.                                                           8a
           8b. lnterest and dividends                                                         8b
           8c. Family support payments that you, a non-filing spouse, or a dependont
               regularly receive
                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                               1,191.66
                setllement, and property settlement.                                      8c.

       8d.      Unemployment compensation                                                 8d$
           8e Social Security                                                             naa
           8f. Other     government assistance that you regularly receive
                Include cash assistance and the value (if known) of any non-cash assistance
                that you receive, such as food slamps (benefits under the Supplemental
                Nutrition Assistance Program) or housing subsidies.
                Specify                                                                   8f

           89. Pension or retirement income                                               8g

           th. Other monthly income. Specify:                                             8h        +s                        +q
 g. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +80 + 8h.                     v.    l-r--,tt*l
                                                                                                    |-----_l

l0.Calculate monthly income. Add line 7 + line 9.
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                ^l;;;;t*
                                                                                               ''l-l
11.   State all other regular contributions to the expenses that you list in Schedure J.
      Include contributions from an unmarried partner, members ofyour household, yourdependents, your roommates, and other
      friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J
       a   nani{r,'                                                                                                                                    11.   +   $_
12.   Add the amount in the last column of line 10 to the amount in line 1'1. The result is the combined monthly income
      Write that amount on lhe Summary of yourAssefs and Liabilities and Ceftain Starlstica/ lnformation, if it applies                                12.       l$
                                                                                                                                                                 I:J
                                                                                                                                                                       4,825.s2   |

                                                                                                                                                                 Combined
                                                                                                                                                                 monthly income
 13.   Do you expect an increase or decrease within the year after you file this form?
           d    ruo.
           D    Yes. Explain


Ofiicial Form          1061                                          Schedule l: Your lncome                                                                       page 2
               Case 19-13906-JNP                     Doc 1         Filed 02/26/19 Entered 02/26/19 17:02:10                                         Desc Main
                                                                  Document      Page 53 of 59




      Debtor   1 Michael                      Berkowitz
                                                Middle Name                   Last Name                       Check if this is:
      Debtor 2
      (Spouse, it filing) First Name            Middle   Nam€                 Last Name
                                                                                                              D An amended filing
                                                                                                              Q A supplement showing postpetition             chapter 13
      Unlted States Bankruptcy Court for the: District of New Jersey                                              expenses as of the following date:
      Case number
      (lf known)
                                                                                                                  Ml\il   /   DD/   YYYY




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                         12t15

 Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
 information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

]@                     Describe Your Househotd

 1. ls this a joint case?

       d      ruo. co to line 2.
       D      Yes. Does Debtor 2 live in a separate household?

                   Druo
                   O   Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separale Househotd of Debtor 2

       Do you have dependents?                Druo                                         Dependent's relationship to                     Dependent's   Does dependent live
       Do not list Debtor 1 and               d    V"..   Fill out this information tor    Debtor 1 or Debtor 2                            age           with you?
       Debtor 2.                                   each dependent.......................
       Do not state the dependents'                                                        Daughter                                        18 _          Euo
       names.                                                                                                                                            El v"t
                                                                                           Aunt (disabled)                                 65_           Dno
                                                                                                                                                         d v".
                                                                                                                                                         E tto
                                                                                                                                                         E ves
                                                                                                                                                         E tto
                                                                                                                                                         E Y.s
                                                                                                                                                         E tto
                                                                                                                                                         fl Y"t
 3.    Do your expenses          include   fl rr^
       exponses of peopte other       than qq :-."
       yourgelf and your dependents?       = Yes
[@|                Estimate your ongoing Monthty Expenses
 Estimate yourexpenses as ofyour bankruptcy filing date unless you are using this form as a supplement in a Chapter l3 case to report
 expenses as of a date after the bankruptcy is filed. lf this is a supptemental Schedu/e J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedu/e l: Your lncome (Official Form 1061.)                                                       Your expenses

  q. The rental or home ownership expenses for your residence.                    Include first mortgage payments and
                                                                                                                                                          1,248.32
        any rent for the ground or lot.

         lf not included in line 4:
         4a.     Real estate taxes

         4b      Property, homeowner's, or renter's insurance                                                                        4b

         4c      Home maintenance, repair, and upkeep expenses                                                                       4c      $_               50.00
         4d      Homeowner's association or condomrnium dues                                                                         4d                      150.00

Official Form 106J                                                  Schedule J: Your Expenses                                                                  page   1
          Case 19-13906-JNP                           Doc 1           Filed 02/26/19 Entered 02/26/19 17:02:10                                     Desc Main
                                                                     Document      Page 54 of 59


 Debtor   1        Michael                        Berkowitz                                            Case number     1r
                      Name        Middle   Name          Last Name




                                                                                                                                            Your expenses


  5. Additional mortgage payments for your residence, such as home equily loans                                                J



 6.   Utilities:
      6a.     Electricity, heat, natural gas                                                                                   baD                          250.00
      6b.     Waler, sewer, garbage collection                                                                                 ah       e                   120.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                                   6c $                         445.00
      6d.     Other. Specify:                                                                                                  6d$
 7.   Food and housekeeping supplies                                                                                           7q                           700.00
 a.   Childcare and children's education costs                                                                                 8$
 9.   Clothing, laundry, and dry cleaning                                                                                      s$                           140.00
10. Personal care products and services                                                                                        10       $                    70.00
11. Medical and dental expenses                                                                                                11       $                   150.00
'12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                            200.00
      Do not include car payments.                                                                                             12

'13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                        1?       q                    80.00
14. Charitable contributions and religious donations                                                                           14       $

15. lnsurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20

      15a. Life insurance                                                                                                      15a.     $

      15b. Health insurance                                                                                                    15b      $

      15c. Vehicle insurance                                                                                                   15c.     $                   130.00
      15d. Other insurance. Specify                                                                                            16d      q


'16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20
      Specify:                                                                                                                 16       $


17. Installment or lease payments:
      17a. Cat payments for Vehicle          'l                                                                                't7a     $                   714.29
      17b. Car payments for Vehicle 2                                                                                          '17b.    $

      17c. Other. Specify                                                                                                      17c      $

      17d Other. Specify                                                                                                       17d      $


18. Yourpaymentsofalimony,maintenance,andsupportthatyoudidnotreportasdeductedfrom
    your pay on line 5, Schedu/e l, Your Income (Official Form 1061).                                                              18   q


19. Other payments you make to support others who do not live with you.
    Specify Mother (food)                                                                                                          1e $                     225.00

20. Other reaf property expenses not included in lines                4 or 5 of this form or on Schedu/e   l:   Your Income.

                            property
      2Oa. Mortgages on other                                                                                                  zoa      $

      2ob. Real estate taxes                                                                                                   zob      $

      20c. Property, homeowner's, or renter's    insurance                                                                     zoc.     $

      2Od. Maintenance, reparr, and upkeep      expenses                                                                       2od.     $

      20e. Homeowner's       association or condominium dues                                                                   2oe.     $




Official Form 106J                                                   Schedule J: Your Expenses                                                                page 2
            Case 19-13906-JNP                         Doc 1          Filed 02/26/19 Entered 02/26/19 17:02:10                         Desc Main
                                                                    Document      Page 55 of 59


 Debtor   1      Michael
                                          Name
                                                 Berkowitz                                      Case number   or
                  First   Name   Middle                 Last Name




21.   Other. Specify                                                                                                21    +$


22.   Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                 22a.       $          4,672.61

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.       q


      22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $          4.672.61



23. Calculate     your monthly net income.
                                                                                                                                         4,825.52
   23a.       Copy line 12 (your combined monthly income) from Schedu/e        /.                                  23a

   23b.       Copy your monthly expenses from line 22cabove.                                                       23b.
                                                                                                                          -   $          4,672.61

   23c.       Subtract your monthly expenses from your monthly income.
              The result is you monthly net income.                                                                23c
                                                                                                                                  s        152.91




24. Do you exp€ct an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   EI     ruo.

   E Yes.            Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                page 3
              Case 19-13906-JNP                           Doc 1      Filed 02/26/19 Entered 02/26/19 17:02:10                               Desc Main
                                                                    Document      Page 56 of 59



Debtolr Michael
         Name      Ftrsl
                                               Berkowitz
                                              Mrddle    Name             Lasl Name

Debtor 2
(Spouse, if filing) Frcr Name                 lvrddle   Naine            Lasl Name


United States Bankruptcy Court for the: District of New Jersey

Case number
                                                                                                                                                D     Chect< if this is an
(lf known)                                                                                                                                            amended filing




  Official Form 108
  Statement of lntention for Individuals Filing Under Ghapter 7                                                                                                  't2t1s

  lf you are an individual filing under chapter 7, you must fill out this form if:
  r creditors have claims secured by your property, or
  I you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cauge. You must also send copies to the creditors and lessors you list on the form.
  lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

 I!!@               List your Greditors who Have secured Glaims
   '1. ForanycreditorsthatyoulistsdinPartlofSchedu/eD:CreditorsWhoHaveClaimsSecuredbyProperty(Official                                     Form106D),fill inthe
         information below.

             ldentify the creditor and the property that is     collateral           What do you intend to do with the property     that   Did you claim the property
                                                                                     secures a debt?                                       as exempt on Schedule C?

         creditor's                   r\r^*^^^^ LLC
                                                r I r\                               B    Surrender the   property.                        D    tto
         nrr",             Nationstar Mortgage,
                                                                                     E Retain the property and redeem it.                   d   yes
         D-escription      of
                         Residence
         propeny                                                                     D Retain the property and enter inlo a
         securing     debt:                                                               Reaffirmation Agreement.
                                                                                     d    R"trin the property and lexplain]: Debtor
                                                                                          will continue makinq payments.

         Creditor's                                                                  fl   Surrender the   property.                         D   tto
         name: Ford Credit
                                                                                     O    Retain the properly and redeem      it.           d y",
         D.escription      of 2017 Ford   Explorer                                   fl   Retain the property and enter rnro   a
         propeny
         securng       debt:
                                                                                     u::#TjffZ::::::'o*^n1:                    pebtor
                                                                                          will continue makinq Pavments.

         Creditor's                                                                  E Surrender the property.                              D   ruo
         name:
                                                                                     E Retain the property and redeem it.                   E   ves
         Descriptionof                                                               n^       .,
         propertylJRetainthepropertyandenterintoa
                                                                                          Reaffirmation Agreement.
         securing debt:
                                                                                     E    Retain the property and [explain]



         Creditor's                                                                  E Surrender the property.                              Druo
         name:
                                                                                     D Retain the property and redeem it.                   E   Yes
         Description of
         property                                                                    O    Retain the property and enter into    a
                                                                                          Reaffh mation Ag ree men t.
         securing debt:
                                                                                     E    Retain the property and lexplain]



  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                        page   1
           Case 19-13906-JNP                   Doc 1        Filed 02/26/19 Entered 02/26/19 17:02:10                                 Desc Main
                                                           Document      Page 57 of 59

                  Michael                   Berkowitz                                          Case number (//




]@|               List your Unexpired personat property Leases

     For any unexpired personal property lease that you listed in Sctedure G: Executory Contracts and Unexpired Leases (Official Form 106G),
     filf in the information below. Do not list real estate leas€s. lJnexpired leases are leases that are still in effect; the lease period has not yet
     ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. S 365(pX2).

         Describe your unexpired personal property leases                                                                Willthe lease be assumed?

         Lessor's name:                                                                                                 E tto
                                                                                                                        E Yes
         Description of leased
         property:


         Lessor's name:                                                                                                 D   tto
                                                                                                                        O   ves
         Description of leased
         property:



         Lessor's name:                                                                                                 C tto
         Description of leased                                                                                          U ves
         property:



         Lessor's name.                                                                                                 ENo
                                                                                                                        D   ves
         Description of leased
         propeny:



         Lessor's name:                                                                                                 Druo
                                                                                                                        E   ves
         Description of leased
         property:


         Lessor's name.                                                                                                 E   tto
                                                                                                                        E   Yes
         Description of leased
         property.



         Lessor's name:                                                                                                 QNo
                                                                                                                        D   ves
         Descriplion of leased
         nrlnertV:




 IiEIi-il         Sisn Below



 -
     r                                                         x
                                                                    Signature of Debtor 2

               , Y'r ,', .r
         Oale -',* t.rL ' la     "l                                 Date
              MM/ DD / YYYY                                                Mi,|/ DD/   YYYY




Official Form   '108                           Statement of Intention for Individuals Filing Under chapter       7                         page 2
Case 19-13906-JNP               Doc 1        Filed 02/26/19 Entered 02/26/19 17:02:10                          Desc Main
                                            Document      Page 58 of 59

82030 (Form 2030) ( I 2/l 5)




                               United States Bankruptcy Court


In re

        1\'\,^.;ir.'rc-1 \'r.,.' \cr- u-. t- J"                            Case No.

                                                                                           -'"1
Debtor                                                                     Chaptcr

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

l.   Pursuant to ll U .S.C. $ 329(a) and Fcd. Bankr. P.2016(b), I ccrtify that I arn thc attorncy for thc abovc
     named debtor(s) and that compensation paid to me within one year before the liling ol'the petition rn
     bankruptcy, or agrccd to be paid to mc, for services rendered or to be rendered on bchalfofthc dcbtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

     Forlegal services,   Ihaveagreedtoaccept                                         ..S-j(11-'.f-       C'

     Priortothefilingofthisstaternentlhavereceived                         ...........$            (,t    f
     BalanceDue...                                                                        S_i_C_(!l!a'
2.   The source of the compensation paid to me was:

          I   o.b,o.                  f]   o,h., (specify)

3.   Thc sourcc of compcnsation to bc naid to rnc is:

          I   D"b,o'                  E    o,n".(specify)    L*t 1.,\ \'\'i     'r
4,        El t huu" not agrccd to sharc thc abovc-disclosed compcnsation with any othcr pcrson unlcss thcy arc
          members and associates of my law flrm.

          | | I have agreed to sharc the above-disclosed compensation with a other pcrson or persons who are not
          members or associates of my law firm. A copy of the agreement, together with a list of'the narnes of the
          people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspccts ofthe bankruptcy
     case, including:

     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in dctcrrnining whether to
          file a petition in bankruptcy;

     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be rcquircd;

     c.   Representation of the debtor at the meeting of creditors and confirmation hcaring, and any adjoumcd
          hearings thereol
Case 19-13906-JNP              Doc 1      Filed 02/26/19 Entered 02/26/19 17:02:10                        Desc Main
                                         Document      Page 59 of 59

82030 (Form 2030) (l 2/l 5)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters,

     e.   fOther provisions as needed]




6.   By agreement with thc debtor(s), thc abovc-disclosed fce docs not includc thc fbllowing scrviccs:
